Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 1 of 68




                         Exhibit 20
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 2 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 3 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 4 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 5 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 6 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 7 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 8 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 9 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 10 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 11 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 12 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 13 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 14 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 15 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 16 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 17 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 18 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 19 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 20 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 21 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 22 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 23 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 24 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 25 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 26 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 27 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 28 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 29 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 30 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 31 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 32 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 33 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 34 of 68
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 35 of 68




                Tunnell Declaration
                    Exhibit A
  Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 36 of 68
                                                                      May 2012



                                                            JOHN W. TUNNELL, JR.
                                              Associate Director and Endowed Chair of Biodiversity
                                               and Conservation Science, Harte Research Institute
                                                               Professor of Biology
                                                    Regents Professor and Fulbright Scholar
                                                           Department of Life Sciences
                                                       College of Science and Engineering
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Degrees:
     •    Bachelor of Science in Biology (Chemistry Minor); Texas A & I University, Kingsville, Texas: August 1967
     •    Master of Science in Biology (Geology Minor); Texas A & I University, Kingsville, Texas: August 1969
     •    Doctor of Philosophy in Biology; Texas A & M University; College Station, Texas: December 1974


Experience - Teaching:
     •    Endowed Chair of Biodiversity and Conservation Science, Harte Research Institute for Gulf of Mexico Studies, Texas A&M
          University-Corpus Christi, 2011-present.
     •    Professor of Biology; Texas A&M University-Corpus Christi, Corpus Christi, Texas; Sept. 1983 - Present.
     •    Visiting Fulbright Professor; Centro de Investigación y de Estudios Avanzados del Instituto Politécnico Nacional-Unidad Mérida,
          Yucatán, México; Sept. 1985- Ju1. 1986.
     •    Associate Professor of Biology; Texas A&I University at Corpus Christi/Corpus Christi State University, Corpus Christi, Texas;
          June 1976 - August 1983.
     •    Assistant Professor of Biology; Texas A&I University at Corpus Christi, Texas; September 1974 - May 1976.
     •    Courses Taught: Undergraduate - Conchology, Marine Biology, Evolution, Physiology, Field Biology - Life Zones of México,
          Ichthyology, Marine Ecology, Estuarine Organisms, Invertebrate Paleontology, Ecology of Coral Reefs.
     •    Graduate - Biology of Estuarine Organisms, Principles of Systematic Zoology, Biology of the Mollusca, Marine Zooplankton, Coral
          Reef Ecology, Coastal Ecology of Texas, Marine Science Teaching, Ph.D. Seminar – Coastal and Marine System Science


Experience – Administration:
     •    Associate Director, Harte Research Institute for Gulf of Mexico Studies, Texas A&M University-Corpus Christi, 2001 - Present.
     •    Director, Center for Coastal Studies, Texas A&M University-Corpus Christi, 1984 - 2009.
     •    Editor, GulfBase, Harte Research Institute, Texas A&M University-Corpus Christi, 2002 – Present.
     •    Website Editor, Harte Research Institute, Texas A&M University-Corpus Christi, 2002 – 2009.
     •    General Editor, Gulf Coast Books Series, Texas A&M University Press, 2001 – Present.
     •    Newsletter Editor, Harte Research Institute, Texas A&M University-Corpus Christi, 2005 – Present.
     •    General Editor, Harte Research Institute Series, Texas A&M University Press, 2007- Present.
     •    Adjunct Curator of Malacology and Marine Biology, Houston Museum of Natural Sciences, 2007 – Present.
     •    President, Coastal Zone Consultants (formerly Coastal Ecosystems Company), 1976-2007.


Experience - Research/Consulting (reverse chronological order):

     •    Endowed Chair of Biodiversity and Conservation Science, Harte Research Institute for Gulf of Mexico Studies, Texas A&M
          University-Corpus Christi, 2011-present.
     •    Lead Principal Investigator for TAMU-CC Campus. 2011-2016. NOAA Environmental Cooperative Science Center with Florida
          A&M University, NOAA Education Partnership Program.
     •    Principal Investigator, Biodiversity of the Gulf of Mexico Project, conversion of book to database and placement on GulfBase, Gulf
          of Mexico Research Initiative, 2010.
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 37 of 68



 •   Focus Group Participant, Natural Resource Damage Assessment and Recover: Scientific Framework and Approaches for Ecosystem
     Restoration, Harwell Gentile & Associates, LC, 2010.
 •   Principal Investigator, Biodiversity of the Gulf of Mexico Project, multi-year program with funding mostly from Alfred P. Sloan
     Foundation, NOAA, and HRI, 2009-11.
 •   Lead Principal Investigator for TAMU-CC Campus. 2006-2011. NOAA Environmental Cooperative Science Center with Florida
     A&M University. NOAA Education Partnership Program.
 •   Chief Scientist; Harte Research Institute; South Texas Banks ROV Surveys with National Marine Sanctuaries R/V Manta, 2009.
 •   Principal Investigator, South Texas Banks mapping and biodiversity, multi-year program and funding from Texas Research
     Development Fund, 2008-11.
 •   Chief Scientist; Harte Research Institute; Seven and One-Half Fathom Reef and South Texas Banks Expedition: October 2006.
 •   Co-Chief Scientist; Harte Research Institute, University South Florida, U.S. Geological Survey, Florida Institute of Oceanography;
     Pulley Ridge Expedition: June-July 2005.
 •   Principal Investigator with David Guggenheim, Northwest Cuba Project for Harte Research Institute, multi-year program from
     2005-09.
 •   Co-Coordinator with Sylvia Earle and Darryl Felder on Harte Research Institute for Gulf of Mexico Studies initiative to update
     Bulletin 89, 1954, The Gulf of Mexico – Its Origins, Waters, and Marine Life. Spring 2003 – Present.
 •   Chief Scientist; Harte Research Institute for Gulf of Mexico Studies, National Geographic Society, Mexican Navy Oceanographic
     Institute; Veracruz Reefs Expedition (Sustainable Seas Expedition): August-Sept. 2002.
 •   Academic Consultant; University of Alaska Southeast Juneau; Science Program and Facilities Planning; with the Saratoga
     Associates and Cunningham Group; June-July 2001.
 •   Principal Investigator; Texas Parks & Wildlife Dept.; “Seagrass Scarring Impacts, Redfish Bay, Texas”: Sept. 2000-Aug. 2001.
 •   Principal Investigator; U.S. Geological Survey; “U.S.G. Marine Ecotoxicology Coop Agreement”: Oct. 2000-Sept. 2001.
 •   Co-Principal Investigator; Coastal Bend Bays & Estuaries; “Bay Sediment Monitoring Project”: Oct. 2000-Sept. 2001.
 •   Principal Investigator; Texas Parks & Wildlife Department; "Seagrass Habitat Restoration Project"; Aug. 1999-Aug. 2001.
 •   Principal Investigator; Texas Parks and Wildlife Dept.; "Texas Parks and Wildlife Foundation Library Catalog Program"; Jul.
     1999-May 2000.
 •   Co-Principal Investigator; Minerals Management Service; “East and West Flower Garden Banks – Long Term Monitoring”; Sept.
     1998-Aug. 2001.
 •   Co-Principal Investigator; The Nature Conservancy; “The Laguna Madre of Texas and México – A Compendium”; June 1998
     Aug. 1999.
 •   Environmental Consultant; Lockwood, Andrews, and Neuman; "Environmental aspects of raising JFK Causeway in upper Laguna
     Madre"; Mar. 1998.
 •   Principal Investigator; Tropic Isles Homeowner’s Association; “Seagrass and canal issues for the Tropic Isle Homeowner’s
     Association”; Feb. 1998-Mar. 1998.
 •   Environmental Consultant; Texas Railroad Commission; seagrass, oyster reef, depth, depth survey for plugging of Score Energy,
     State Tract 387 Lease, Well No. 1, St. Charles Bay, Aransas County, Texas; Jan-Feb. 1998.
 •   Co-Principal Investigator; City of Corpus Christi; “Ecological influence of treated wastewater diversions of delta habitats in a
     semiarid climate: Nueces Estuary, Texas”; Sept. 1997-Aug. 1998.
 •   Principal Investigator; American Petroleum Institute/Texas General Land Office; “Environmental impact and recovery of the
     Exxon Pipeline oil spill and burn site, upper Copano Bay, Texas”; Apr. 1997-Aug. 1998.
 •   Environmental Consultant; Texas Railroad Commission; seagrass and depth survey for plugging of Alpha-Omega Energy, State
     Holly Beach Unit No. 1, lower Laguna Madre, Texas; Jul.-Sept. 1997.
 •   Co-Principal Investigator; Texas Parks and Wildlife Department; Adopt-A-Wetland Program; Sept. 1997-Aug. 1998.
 •   Principal Investigator; Corpus Christi Bay National Estuary Program; “Species-habitat checklist”; Sept. 1996-Aug. 1997.
 •   Co-Principal Investigator; Texas Parks and Wildlife Department; Adopt-A-Wetland Program; Sept. 1996-Aug. 1997.
 •   Principal Investigator; Texas Parks and Wildlife Department; “The benthic, nektonic and epifaunal invertebrates of the Mad Island
     WMA: A proposal to study the effects of freshwater diversion - a one-year extension, Sept. 1996-Aug. 1997.
 •   Principal Investigator; Texas A&M College Sea Grant Program on “Physiological tolerances and nonchemical control strategies for
     the recently introduced macrofouling brown mussel Perna perna”; Sept. 1997-Feb. 1998.
 •   Principal Investigator; U.S. Corps of Engineers/Texas Agricultural Extension Service; “Nueces River Delta Mitigation Monitoring
     Project-Year 8”; Oct. 1997-Sept. 1998.
 •   Principal Investigator; Port of Corpus Christi; “Allison wastewater treatment diversion project”; Port of Corpus Christi; Oct. 1996-
     Mar. 1998.
 •   Co-Principal Investigator; Corpus Christi Bay National Estuary Program/ Texas Natural Resources Conservation Commission;
     “Identification of natural and human related alternations of tide flats”; Sept. 1996-August 1997.
 •   Co-Principal Investigator; Instituto Méxicano del Petroleo; “A regional environmental assessment of changes in surface water flow
     patterns for the State of Tabasco, México”; Nov. 1996-May, 1997.
 •   Co-Principal Investigator; Dept. of Interior-Minerals Management Service; “Long-term monitoring at the East and West Flower
     Garden Banks”; Oct. 1996-Aug. 1998.
 •   Environmental Consultant; Texas Railroad Commission; marking/staking of channel into Well No. 1, Murdock Pass Field, upper
     Laguna Madre; Apr. 1996.
 •   Environmental Consultant; City of Corpus Christi; environmental monitoring of the Ocean Drive Improvement Project (Spur 3),
     Cayo del Oso utility crossing; Apr.-Aug. 1996.
 •   Principal Investigator; Corpus Christi Bend Bays Foundation; “Nueces River Delta Mitigation Monitoring Project”; Sept. 1995-Oct.
     1995.
 •   Principal Investigator; Texas A&M College Sea Grant Program on "Physiological tolerances and nonchemical control strategies for
     the recently introduced macrofouling brown mussel, Perna perna”; Sept. 1995-Aug. 1997.
 •   Co-Principal Investigator; Texas Parks and Wildlife Department; Adopt-A-Wetland Program; Nov. 1995-Aug. 1996.



                                                                 2
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 38 of 68



 •   Principal Investigator; Texas Department of Transportation; "A comparison of the benthic community north and south of the John
     F. Kennedy Causeway, Upper Laguna Madre, Texas”; Jan-Nov. 1995.
 •   Environmental Consultant; Oil spill training exercise for O'Brien Oil Pollution Services and Norwegian Marine Services; League
     City, Texas; Sept. 1995.
 •   Environmental Consultant; Texas Railroad Commission; seagrass and channel depth survey for removal of a Well No. 1, State Tract
     236, Upper Laguna Madre, Texas; Nov-Dec. 1995.
 •   Environmental Consultant; O'Brien Oil Pollution Services and Coastal Towing; South Texas Area Oil Spill Exercise/Drill; Corpus
     Christi, Texas; Dec. 1995.
 •   Co-Principal Investigator (with Q.R. Dokken); Corpus Christi Bay National Estuary Program; Current status and historical trends
     of living aquatic resources within the CCBNEP study area; Sept. 1994-Aug. 1995.
 •   Environmental Consultant; O'Brien Oil Pollution Services; environmental/ecological oil spill advice to resource agencies on southern
     Matagorda Peninsula for Berge Banker oil spill; Feb. 1995.
 •   Environmental Consultant; El Club de Pesca, Casa Blanca; environmental impact assessment of airstrip extension, Punta Pajaros,
     Quintana Roo, México; Aug. 1994.
 •   Environmental Consultant; Urban Engineering; wetlands delineation of Ennis Joslin Estate along south shore of Oso Bay; Mar.
     1994.
 •   Principal Investigator; Texas A&M College Sea Grant Progam on "The invasive biology of the Edible Brown Mussel, Perna, perna
     (Linnaeus, 1758), on the South Texas Coast"; Sept. 1993-Aug. 1995.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; wetlands delineation adjacent to Berry Construction Co. dock,
     Corpus Christi Inner Harbor; Mar. 1993.
 •   Academic Consultant; Texas International Education Consortium; planning, design, and development of a Natural Resources
     Research Center for Al Akhawayn University in Ifrane, Kingdom of Morocco; Feb. 1992 to Oct. 1993.
 •   Environmental Consultant; Urban Engineering; wetlands delineation confirmation along Oso Bay shoreline at Texas A&M
     University-Corpus Christi dormitory site; Oct. 1993.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; preliminary wetlands evaluation of Redfish Bay Terminal
     property, San Patricio County, Texas; Aug. 1993.
 •   Environmental Consultant/Speaker; The Nature Conservancy of Texas; ecological presentation; Jul. 1993.
 •   Principal Investigator; Texas General Land Office; Environmental impact and recovery of the Exxon Pipeline oil spill and burn site,
     upper Copano Bay, Texas; Sept. 1992-Aug. 1995.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; wetlands delineation resurvey (dry season) of Koch Refining
     Company west property, Corpus Christi, Texas; Aug. 1992.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; wetlands delineation of Koch Refining Company Tule Lake
     property; Jul. 1992.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; preliminary wetlands delineation of Koch Refining Company west
     property; Dec. 1991-Jan. 1992.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; wetland delineation at the Refinery Terminal Fire Company
     Training Facility site, Corpus Christi, Texas; Feb. 1992.
 •   Principal Investigator; Texas A&M College Sea Grant Program; Ecological characterization of southern Quintana Roo, Mexico,
     coral reefs; Sept. 1991-Aug. 1993.
 •   Environmental Consultant; Shiner, Moseley and Associates, Inc.; preparation of wetlands floral maps of Oso Bay and a checklist of
     the flora and fauna of Oso Bay for the South Texas Water Authority Nueces Estuary Regional Wastewater Study, Oso Bay
     Component; May-Aug. 1991.
 •   Principal Investigator; City of Corpus Christi; Habitat enhancement via mitigation to the Blind Oso; April-Dec. 1991.
 •   Environmental Consultant; Environmental Investigations; preparation of habitat maps, species lists, and photographs of a property
     development site on Mustang Island, Texas; Apr. 1991.
 •   Expert Witness/Consultant; McGinnis, Lockridge, and Kilgore (Attorneys at Law) and The John G. and Marie Stella Kenedy
     Memorial Foundation; marine biological determination of shoreline boundary, wind-tidal flats of Kenedy County adjacent to the
     Laguna Madre; Apr. 1987-1995.
 •   Environmental Consultant; Kantenah Development; environmental damage assessment and restoration concepts for Kantenah
     Resort, Quintana Roo, México; Feb.-Apr. 1990.
 •   Environmental Consultant; Legal Department, City of Corpus Christi; assessment of seagrass recovery at Philip Dimitt Municipal
     Pier propwashed channel site, upper Laguna Madre; Aug. - Sept. 1990.
 •   Environmental Consultant; Inmobiliaria La Sol; marine environmental feasibility study for construction of a cruise ship pier on
     Cozumel Island, Quintana Roo, México; Sept. - Nov. 1989.
 •   Principal Investigator; Corpus Christi State University Organized Research Grant; Comparison of community structure of
     scleractinian corals between inner and outer shelf reefs, Veracruz, México; Sept. 1989-Aug. 1990.
 •   Paleontology Consultant; Sun Exploration and Production Company, Corpus Christi/Dallas, Texas (1982-1989):
        I.      Well site paleontology and paleontology reports on the following wells: N.R. Montalvo No. 12, Starr County (1982); A.
                McKinney No. 31, Starr Cty. (1983); Silva Coates Energy Trust, No. 1, Starr Cty. (1983); A.T. Canales No. 58, Kleberg
                Cty. (1983); E.G. Canales No. 23, Kleberg Cty. (1983); C. V. de Lopez "A" No. 5, Starr Cty. (1983); C.V. de Lopez "A"
                No. 6, Starr Cty. (1983); T.B. Slick "C" No.5, Starr Cty. (1984); Bentsen Bros. "A" No. 7, Starr Cty. (1984); A.T. Canales,
                No. Kleberg Cty. (1984); C.M. Hall "C” No. 5, Starr Cty. (1985); T.B. Slick "C" No. 6, Starr Cty. (1985); T.B. Slick "C"
                No. 7, Hidalgo Cty. (1985); Yturria L&L Co. C-2, Hidalgo Cty, (1985); I.Y. Garcia No. 12, Starr Cty. (1986); Yturria L&L
                C-3, Hidalgo Cty. (1986); P. Van Scherpe No. 3, Hidalgo Cty, (1987); Bentsen Bros. A-8, Starr Cty. (1987); Yturria L&L
                B-3, Starr Cty. (1987); Yturria L&L C-4, Hidalgo Cty. (1987); Bentsen Bros. A 9, Starr Cty. (1987); I.Y. Garcia No.14,
                Starr Cty. (1987); P. Canales No. 140, Jim Wells Cty. (1987); Yturria L&L B-4, Hidalgo Cty. (1988); A. Orive No. 4, Starr
                Cty (1988); T.B. Slick C-10, Starr Cty. (1989); Yturria-Garcia No. 1, Starr Cty. (1989).
        II.     Laboratory Paleontology and paleontology reports on the following wells: Bentsen Bros. "A" No. 6, Starr Cty. (1984);




                                                                 3
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 39 of 68



                 Stovall-Johnson No. 2, Matagorda Cty. (1985); R. R Cardenas No. 1, Starr Cty. (1985).
 •   Environmental Consultant; Legal Department, City of Corpus Christi; development of mitigation plan possibilities for Philip Dimitt
     Pier project; Sept. - Nov. 1988.
 •   Environmental Consultant; Calizas Industriales del Carmen S.A. (CALICA): field survey and report about Hurricane Gilbert
     impacts on sedimentation and marine life at CALICA project site, Quintana Roo, México; Oct. 1988.
 •   Environmental Consultant; Calizas Industriales del Carmen S.A. (CALICA); field survey and report about impacts of limestone
     dredging on the nearshore marine environment at CALICA project site, Quintana Roo, México; Sept. 1988. (with Dr. Gustavo de la
     Cruz Aquero, Centro de Investigacion de Estudios Avanzados del IPN-Unidad Merida, Yucatan).
 •   Environmental Consultant; Legal Department, City of Corpus Christi; environmental assessment of alleged propwashing at Philip
     Dimitt Municipal Pier; May - June 1988.
 •   Environmental Consultant; Sun Exploration and Production biological surveys of proposed road and drillsite for Dunn-
     McCampbell A-9, Padre Island National Seashore; Feb. 1988.
 •   Environmental Consultant; Puerto Aventuras Development; environmental visual surveys and discussions about project site; Dec.
     1987.
 •   Photographer; México Magazine; two color photos published in article about Yucatan, México, in volume 1, number 1; Fall 1987.
 •   Fulbright Research/Principal Investigator; Cruises/trips to various coral reefs around the Yucatan Peninsula to study molluscan
     ecology and distribution: Puerto Morelos barrier reef, Majahual barrier reef, Banco Chinchorro, Alacran Reef, Cayos Arcos, Cayo
     Arenas, and Triangulos; Gulf of México and Caribbean Sea; Sept. 1985 - Aug. 1986.
 •   Environmental Consultant; Subdelegacion de Ecologia, SEDUE, Quintana Roo and Calizas Industriales del Carmen, S.A. de C.V.
     for Cancun Sheraton; environmental impact discussions, observations, and letter-report concerning land-fill development in
     Nichupte and Bojorquez Lagoons, Cancun, Quintana Roo, México; June 1986.
 •   Verification Consultant; Phylum Mollusca; Barry A. Vittor and Assoc., Inc., Mobile, Alabama; specimens from Puerto Rico,
     Chevron Project and Port Everglades; Feb. 1985.
 •   Environmental Consultant; American Petrofina Company of Texas; preparation of environmental aspects of Plan of Operations for
     exploratory drilling within Padre Island National Seashore; Sept. 1984.
 •   Environmental Consultant; Sun Exploration and Production Company; field surveys and preparation of environmental surveys for
     Dunn-McCampbell A-13 drillsite and relocation of Pan-Am road entrance; Sept. 1984.
 •   Principal Investigator; Corpus Christi State University Organized Research Grant on "Seasonal abundance and zonation of
     intertidal and subtidal infaunal macroinvertebrates on two Texas barrier island sandy beaches"; Sept. 1983 - Aug. 1984.
 •   Environmental Consultant; "Biological and Ecological Impact of Oil", one part of multi-day workshop on oil spills in Kuwait with
     National Spill Control school of CCSU for Environmental Protection Council of Kuwait, Kuwait; May 1984.
 •   Environmental Consultant; Marathon Oil Company, Houston, Tx; marine biological determination of the environmental location of
     Marathon No. 1 well in State Tract 389, Lower Laguna Madre, Tx; Dec. 1982.
 •   Principal Investigator: Corpus Christi State University Organized Research Grant on "Systematics, distribution, and ecology of the
     Mollusca of Corpus Christi Bay, Texas"; Sept. 1981 - Aug. 1982.
 •   Environmental Consultant; Henderson Oil Company (through Ernest B. Rubsamen, Jr. and Assoc., Inc., Corpus Christi, Tx);
     preparation of environmental aspects of Plan of Operations for exploratory drilling within Padre Island National Seashore; Aug.
     1981.
 •   Submerged Bank Consultant; Dive Participant; BLM, New Orleans Office, survey cruise of Sebree Bank and several South Texas
     OCS offshore platforms; Aug. 1981.
 •   Environmental Consultant; Corpus Christi Oil and Gas Company, Corpus Christi, Tx; preparation of environmental aspects of Plan
     of Operations for exploratory drilling within Padre Island National Seashore; July 1981.
 •   Principal Investigator; Mobile District, Corps of Engineers, Contract No. DACW01-81-M-9931; “Impact Assessment of the Fate of
     Effect of a Brine Spill into a Freshwater Environment” (Tallahala Creek Lake, Mississippi); Mar. - May 1981.
 •   Expert Witness/Consultant; McGinnis, Lockridge, and Kilgore (Attorneys at Law) and South Padre Investment Company; marine
     biological determination of shoreline position of S. Padre Island wind-tidal flats adjacent to the Laguna Madre; Apr. - Nov. 1980.
 •   Principal Investigator; NOAA, Contract No., NA79RAA04886; Laboratory analysis of pre and postspill (IXTOC I) nearshore
     benthic faunal samples taken by Coastal Ecosystems Company on barrier island beaches of South Texas; Oct. 1979.
 •   Principal Investigator; NOAA, Contract No. NA80RAA94222; Postspill (IXTOC I) sampling of nearshore benthic fauna of Padre
     and Mustang Islands, Texas; Sept. 1979.
 •   Principal Investigator; NOAA, Contract No. NA79RAA4226; Mustang/Padre Island prespill (IXTOC I) beach sampling; Aug. 1979.
 •   Principal Investigator; NOAA, Contract No. 79RAC00136; Local Scientific Advisor to NOAA concerning Mexican Oil Spill
     impacting the Texas coastline; Aug. - Dec. 1979.
 •   Consultant to Research Planning Institute, Columbia, South Carolina; field work on Vulnerability Index of S. Texas coast prior to
     impact by IXTOC I oil spill; Jul. - Aug. 1979.
 •   Consultant on coral reef ecology, dive coordinator, and underwater photographer for Hazelton Environmental Sciences, Chicago,
     Illinois; Persian Gulf Study of deballasting effects on local marine environments near Jebel Dhanna, Abu Dahbi, United Arab
     Emirates, for Abu Dahbi Petroleum Company; Sept. 1979.

 •   Principal Investigator; Mobile District, Corps of Engineers, Contract No. DACW01-78-C0211; Impact Assessment of Oil Production
     at Tallahala Creek Lake, Mississippi; 1978-79.
 •   Verification Consultant; Phylum Mollusca; Southwest Research Institute in BLM Central Gulf Project; 1978-79.
 •   Environmental Systems Consultant and Lecturer; National Spill Control School, Corpus Christi State University, 1977-Present.
 •   Principal Investigator; The Society of Sigma Xi Grant; 1973-1974; Systematics, distribution and ecology of reef and bank associated
     molluscs in the Western Gulf of México.
 •   Principal Investigator; Texas A&M University Organized Research Fund Grant No. 15600 for 1973-74 (Harold W. Harry, Advisor);
     Systematics distribution and ecology of reef and bank associated molluscs in the Western Gulf of México.
 •   Graduate Research Assistant; Flower Gardens Ocean Research Center Mission 72-1023-12; R/V Miss Freeport to West Flower



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 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 40 of 68



         Garden Bank; Northwestern Gulf of México; Oct. 1972.
   •     Research Assistant; University of Miami; Institute of Marine Science R/V Gerda Cruise 7121 to the Bahama Islands; Aug. - Sept.
         1971.
   •     Biological Lab Assistant; Sixth U.S. Army Medical Laboratory; Microbiology Section (TB culture, parasitology, mycology,
         meningitis research) Ft. Baker, Sausalito, CA; Sept. 1969 - May 1971.
   •     Principal Investigator; Texas A&I University Faculty Research Grants; Nos. 449-G-68 for 1967-68 and 449-469 for 1968-69;
         Mollusca of Seven and One-Half Fathom Reef (M.S. Thesis). (Allan H. Chaney, Advisor).


Grants:
   1.    Water quality sampling in South Texas bays & lagoons, Texas Water Development Board, 9/84 - 8/85, $24,500.
   2.    Preparation of sediment samples for chemical analysis, U.S. Geological Survey, 11/84 - 6/85, $750.
   3.    Point source toxic discharge in South Texas waters, USFWS-Ecological Services, 10/86 - 10/88, $17,000.
   4.    Evaluation of mitigation projects in South Texas coastal areas, USFWS-Ecological Services, 10/86 - 10/87, $10,000.
   5.    Evaluation of human impact to colonial waterbirds on spoil islands along the South Texas coast, USFWS-Ecological Services,
         10/87 - 10/88, $17,000.
   6.    Ecological characterization and historical vegetative changes in the Blind Oso of Oso Bay, Corpus Christi, Texas, USFWS Ecological
         Services, 9/90 - 10/92, $20,000.
   7.    Wetlands restoration, creation, and enhancement on private lands via the North American Waterfowl Management Plan and Farm
         Bill Act: South Texas Coastal Area, USFWS-Ecological Services, 10/88 - 10/89, $17,000.
   8.    Wetlands restoration, creation, and enhancement on private lands via the North American Waterfowl Management Plan and Farm
         Bill Act: South Texas Coastal Area, USFWS-Ecological Services, 10/89 - 10/90, $18,000.
   9.    Wetlands restoration, creation, and enhancement on private lands via the North American Waterfowl Management Plan and Farm
         Bill Act: So. Texas Coastal Area, USFWS-Ecological Services, 10/90 - 10/91, $18,000.
   10.   Wetlands restoration, creation, and enhancement on private lands via the North American Waterfowl Management Plan (including
         Farm Pond Program and Adopt-A-Wetland Program), USFWS-Ecological Services, 10/91 -10/92, $18,000, (written with N. Kelley).
   11.   Fire ant predation on colonial waterbirds on spoil islands, along the central and south Texas coast, USFWS-Ecological Services,
         10/91 - 10/92, $18,000.
   12.   Habitat enhancement via mitigation to the Blind Oso Bay, City of Corpus Christi, 4/91 - 12/91, $17,000.
   13.   Habitat enhancement of a Black Skimmer colony on a public causeway, upper Laguna Madre, U.S. Fish & Wildlife Service-
         Ecological Services, 10/91 - 10/92, $12,000.
   14.   Literature review and museum feather sample search for impacts to colonial waterbirds due to mercury contamination on Lavaca
         Bay, USFWS-Ecological Services, 10/91 - 10/92, $34,000.
   15.   Exxon pipeline oil spill project, Texas General Land Office., 9/92 - 8/95, $225,000.
   16.   Lavaca Bay colonial waterbirds, USFWS-Ecological Services, 10/92 - 4/93, $10,200.
   17.   Seagrass epiphytes project, Redhead Duck project, sediment contaminants project, seagrass distribution project, USFWS-National
         Wetlands Research Center and NFCRC, (now, National Biological Service), 1987-1994, $30,000-$40,000/yr.
   18.   Distribution and abundance of benthic invertebrates on gulf sandy beaches, Padre Island National Seashore, 9/92 -12/93, $19,000.
   19.   Ecological characterization of Quintana Roo coral reef system, Texas A&M University Sea Grant Program, 9/91 - 8/93, $20,000.
   20.   Fisheries resources & monitoring Project, USFWS-Ecological Services, 9/92 - 10/93, $15,000.
   21.   Fisheries resources and monitoring project, USFWS-Fishery Resource Office, 10/93 - 10/94, $32,000.
   22.   The invasive biology of the edible brown mussel, Perna perna, Texas A&M University Sea Grant Program, 9/93 -8/95, $50,000.
   23.   Pen culture research and operation in the Gulf of México-1, MNE, Inc., 6/93 - 6/94, $14,588.
   24.   Pen culture research and operation in the Gulf of México-2, MNE, Inc., 9/93 - 8/94, $16,658.
   25.   Pen culture research and operation in the Gulf of Mexico 3, MNE, Inc., 3/95-8/95, $7,575.
   26.   Study of the aquatic macro-invertebrates of the Madd Island Wildlife Management Area, Texas Parks and Wildlife Department,
         5/94 - 8/94, $18,000.
   27.   Status and trends of Living Resources of Corpus Christi Bay National Estuary Program, CCBNEP (TNRCC/EPN), 9/94-8/95,
         $100,000.
   28.   Kemp's ridley sea turtle project, USFWS-Fishery Resource Office, 4/94 - 4/95, $10,000.
   29.   Kemp's ridley turtle, Rancho Nuevo project, USFWS-Fishery Resource Office, 10/94-7/95, $8,000.
   30.   Salinity and temperature tolerances of Perna perna, Texas A&M University Sea Grant Program, 9/95-8/97, $98,000.
   31.   Benthic comparison north and south of JFK Causeway, Texas Department of Transportation, 10/94-4/95, $29,308.
   32.   Berge Banker benthic impact on Padre Island National Seashore, Eastham, Watson, Dale, & Forney, L.L.P., 3/95-8/95, $7,445.
   33.   Seagrass and contaminants studies, National Biological Service, 1994-1995, $48,180.
   34.   Study to collect baseline information for Texas Coastal Wildlife Refuges, USFWS-Fisheries Resource Office, 8/94-7/95, $22,500.
   35.   Effects of freshwater diversion on invertebrates of Mad Island Wildlife Management Area, Texas Parks and Wildlife Department,
         5/94-8/95, $26,511.
   36.   Adopt-A-Wetland Program, Educational Grants, U.S. Environmental Protection Agency, 10/91 - 10/92, $20,000, (written with N.
         Kelley).
   37.   Adopt-A-Wetland Program, U.S. Environmental Protection Agency, 9/92 - 10/93, $20,000, (written with N. Kelley).
   38.   Adopt-A-Wetland Program, U.S. Environmental Protection Agency, 11/93-10/94, $18,000. (written with N. Kelley).
   39.   Adopt-A-Wetland Program, Wray Trust Foundation, 10/92 - 10/93, $2,500, (written with N. Kelley).
   40.   Adopt-A-Wetland Program, Wray Trust Foundation, 10/93 - 10/94, $1,000, (written with N. Kelley).
   41.   Adopt-A-Wetland Program, TEEAC, 9/93 - 10/94, $250, (written with N. Kelley).
   42.   Adopt-A-Wetland Program, Texas Parks & Wildlife Department, 9/92 - 10/93, $35,190, (written with N. Kelley).
   43.   Adopt-A-Wetland Program, Texas Parks and Wildlife Department, 9/93 - 10/94, $47,219, (written with N. Kelley).
   44.   Adopt-A-Wetland Program, Texas Parks and Wildlife Department, 11/94-10/95, $49,339 (written with N. Kelley)
   45.   Adopt-A-Wetland Program, Texas Parks and Wildlife Department, 11/95-10/96, $50,000.



                                                                    5
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 41 of 68



 46.   Adopt-A-Wetland Program, Texas Parks and Wildlife Department, 8/97-8/98, $40,000 (written with R. Smith).
 47.   Adopt-A-Wetland Program, USFWS-Ecological Services, 9/92 - 10/93. $8,000, (written with N. Kelley).
 48.   Adopt-A-Wetland Program, USFWS-Ecological Services, 9/93 - 10/94, $10,000, (written with N. Kelley).
 49.   Adopt-A-Wetland Program, USFWS-Ecological Services, 11/94-11/95, $1,235 (written with N. Kelley).
 50.   Adopt-A-Wetland Program, USFWS-Ecological Services, 10/96-12/96, $4,000 (written with R. Smith).
 51.   Adopt-A-Wetland Program, USFWS-Ecological Services, 1/97-9/97, $5,000 (written with R. Smith).
 52.   Adopt-A-Wetland Program, National Fish and Wildlife Foundation, 11/94-10/95, $8,500 (written with N. Kelley).
 53.   Adopt-A-Wetland Program, Phillips Petroleum Foundation, 11/94-10/95, $8,500 (written with N. Kelley).
 54.   Aquatic systems located within Brazoria National Wildlife Refuge, USFWS-Fisheries Resource Office, 4/95-12/95, $17,000.
 55.   Critical habitat of Whooping Cranes, USFWS-Aransas National Wildlife Refuge, 5/95-8/96, $8,000.
 56.   Critical habitat of Whooping Cranes, U.S. Army Corps of Engineers, 5/95-8/96, $10,000.
 57.   Comparison of benthic and nektonic communities between created and natural marshes, U.S. Environmental Protection Agency,
       5/95-9/96, $20,232.
 58.   Effects of freshwater diversion on invertebrates of Mad Island Wildlife Management Area, Texas Parks and Wildlife Department,
       9/95-8/96, $21,383.
 59.   Distribution of Perna perna in Texas bays, USFWS-Fisheries Resource Office, 8/95-10/96, $22,000.
 60.   Mitigation monitoring of a 200 acre wetlands creation site in the Nueces River Delta, USFWS-Ecological Services, 10/89 - 10/90,
       $18,000.
 61.   Mitigation monitoring of a 200 acre wetlands creation site in the Nueces River Delta (2 yrs) USFWS-Ecological Services/COE, 9/90 -
       10/92, $18,000.
 62.   Mitigation monitoring of a 200 acre wetlands creation site in the Nueces River Delta, USFWS-Ecological Services, 10/92 - 10/93,
       $18,000.
 63.   Mitigation monitoring of a 200 acre wetlands creation site in the Nueces River Delta, USFWS-Ecological Service/COE, 10/93 - 10/94,
       $27,000.
 64.   Mitigation monitoring of a 200-acre wetland site in the Nueces River Delta, U.S. Army Corps of Engineers, 11/94-10/95, $27,507.
 65.   Nueces River Delta Mitigation Monitoring Project-two month support, Corpus Christi Bend Bays Foundation, 9/95-10/95, $1,740.
 66.   Mitigation monitoring of a 200-acre wetland site in the Nueces River Delta, US Army Corps of Engineers, 11/95-10/96, $29,000.
 67.   Nueces River Delta Mitigation Monitoring Project-Year 8, U.S. Corps of Engineers/ Texas Agricultural Extension Service, 8/97-9/98,
       $29,877.
 68.   The Benthic, nektonic and epifaunal invertebrates of the Mad Island WMA: A study of the effects of freshwater diversion - a one-
       year extension, Texas Parks and Wildlife Department, 9/96-8/97, $7,000.
 69.   Physiological tolerances and nonchemical control strategies for the recently introduced macrofouling brown mussel Perna perna,
       Texas A&M College Sea Grant Program, 9/97-2/98, $46,746.
 70.   Species-habitat checklist, Corpus Christi Bay National Estuary Program, 9/96-8/97, $30,000.
 71.   Identification of natural and human related alternations of tide flats, Corpus Christi Bay National Estuary Program/Texas Natural
       Resources Conservation Commission, 9/96-8/97, $40,000 (written with K. Withers).
 72.   Long-term monitoring at the East and West flower garden banks, Dept. of Interior-Minerals Management Service, 8/96-8/98,
       $94,752 (written with Q. Dokken).
 73.   National Biological Service space agreement, U.S. National Biological Service-Midwest Science Center, 10/96-9/97, $22,140.
 74.   A regional environmental assessment of changes in surface water flow patterns for the State of Tabasco, México, Petroleum Institute
       of México. 11/96-5/97, $208,662 (written with A. Rodriguez).
 75.   Allison wastewater treatment diversion project, Port of Corpus Christi, 10/96-3/98, $15,000.
 76.   Interagency Student Coop Agreement; Texas General Land Office, 4/97-8/98, $57,475.
 77.   Environmental impact and recovery of the Exxon Pipeline oil spill and burn site, upper Copano Bay, Texas, American Petroleum
       Institute/Texas General Land Office, 4/97-3/98, $50,000.
 78.   Ecological influence of treated wastewater diversions of delta habitats in a semiarid climate: Nueces Estuary, Texas, City of
       Corpus Christi, 9/97-8/98, $14,850 (written with B. Nicolau).
 79.   National Biological Service Agreement, USGS-Marine Ecotoxicology Research Station, 10/97-9/98, $22,140.
 80.   U.S. Fish and Wildlife Student Cooperative Program, USFWS-Ecological Services, 10/97-9/99, $36,300.
 81.   U.S. Fish and Wildlife Cooperative Program, USFWS, 3/98-8/99, $57,600.
 82.   Fishery Resource Office Student Cooperative Program, USFWS-Fishery Resource Office, 11/97-5/99, $14,000.
 83.   Seagrass and canal issues for the Tropic Isle Homeowner’s Association, Tropic Isles Homeowner’s Association, 2/98-3/98, $4,192.
 84.   Physiological tolerances and nonchemical control strategies for the recently introduced macrofouling brown mussel Perna perna,
       Texas A&M Sea Grant College Program, 9/97-2/98, $16,275.
 85.   Development of an Efficient Closed Cycle Shrimp Pond System, Texas A&M Sea Grant College Program, 1/98-12/98, $29,308.
 86.   The Nueces River Authority Coop Agreement, Nueces River Authority, 5/98-5/99, $12,000.
 87.   Habitat Evaluation/Restoration Study Along Service Lands in the Lower Rio Grande Ecosystem, U.S. Fish & Wildlife Service, 6/98-
       9/98, $9,000.
 88.   The Nature Conservancy – Laguna Madre, The Nature Conservancy, 6/98-4/99, $30,000.
 89.   East and West Flower Garden Banks – Long Term Monitoring, Minerals Management Service, 9/98-8/2000, $92,995 (with Q.R.
       Dokken).
 90.   Long Term Monitoring at the East and West Flower Garden Banks, Minerals Management Service, 6/99-5/00, $65,734 (with Q.R.
       Dokken).
 91.   Long Term Monitoring at the East and West Flower Garden Banks, Minerals Management Service, 6/00-5/01, $66,049 (with Q.R.
       Dokken).
 92.   NRA Cooperative Agreement, Nueces River Authority, 4/99-3/2000, $12,000.
 93.   Texas Parks and Wildlife Foundation Library Catalog Program, Texas Parks and Wildlife Department, 7/99-5/200, $9,000.
 94.   Seagrass Habitat Restoration Project, Texas Parks & Wildlife Department, 8/99-8/2000, $46,000.
 95.   The Laguna Madre of Texas and México, The Nature Conservancy of Texas, 5/99 - 9/99, $6,000 extension.
 96.   Study of the dominant seagrass species in upper Laguna Madre, Halodule wrightii, Department of Interior, U.S. Geological Survey,



                                                                  6
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 42 of 68



      5/99-11/99, $7,057.
 97. Ecological Influence of treated wastewater on Delta habitats in Semiarid Climate, Nueces Delta, Texas: Year 3, City of Corpus
      Christi, 10/99-9/00, $55,500.
 98. CBBEP Phase II Lab Analysis, Coastal Bend Bays and Estuaries Program, 9/00-8/01, $100,000.
 99. CBBEP Phase III Water Quality Study, Coastal Bend Bays and Estuaries Program, 9/00-8/01. $135,000.
 100. CBBEP Project Assessment, Coastal Bend Bays and Estuaries Program, 9/01-8/02. $7,115.
 101. U.S. Naval Toxicity, US Geological Survey, 10/01-9/02, $100,000.
 102. NRA Cooperative Agreement, Nueces River Authority, 4/00-3/01, $12,000.
 103. NRA Cooperative Agreement, Nueces River Authority, 4/01-3/02, $12,000.
 104. NRA Cooperative Agreement, Nueces River Authority, 3/05-2/10, $60,000.
 105. NRA Cooperative Agreement, Nueces River Authority, 3/03-2/05, $24,000.
 106. TGLO Cooperative Program, Texas General Land Office, 9/98-8/99, $62,331.
 107. TGLO Cooperative Program, Texas General Land Office, 9/99-8/00, $36,300.
 108. TGLO Cooperative Program, Texas General Land Office, 9/00-8/01, $36,300.
 109. TGLO Cooperative Program, Texas General Land Office, 9/01-8/03, $72,600.
 110. TGLO Cooperative Program, Texas General Land Office, 9/03-8/04, $36,000.
 111. TGLO Cooperative Program, Texas General Land Office, 9/04-8/05, $36,300.
 112. TGLO Cooperative Program, Texas General Land Office, 2006-2007, $72,600.
 113. TGLO Cooperative Program, Texas General Land Office, 9/07 – 8/08, $36,300.
 114. USGS Cooperative Agreement, Department of Interior, U.S. Geological Survey, 10/98-9/99, $22,140.
 115. USGS Cooperative Agreement, U.S. Dept. of Interior, US Geological Survey, 10/99-9/00, $25,000.
 116. USGS Cooperative Agreement, U.S. Dept. of Interior, US Geological Survey, 10/00-9/01, $26,250.
 117. USGS Cooperative Agreement, U.S. Dept. of Interior, US Geological Survey, 10/01-9/02, $27,500.
 118. USGS Cooperative Agreement, U.S. Dept. of Interior, US Geological Survey, 10/02-9/03, $28,500.
 119. USGS Cooperative Agreement, U.S. Dept. of Interior, US Geological Survey, 10/03-9/04, $30,000.
 120. USGS Cooperative Agreement, U.S. Dept. of Interior, US Geological Survey, 10/04-9/09, $150,000.
 121. HRI, Biodiversity of the Gulf of Mexico and Bulletin 89: 50-year Update (7 volumes on the current knowledge of Gulf of Mexico),
      2003-2007, $200,000, Co-PI J. W. Tunnell, Jr. (with Darryl Felder and Sylvia Earle).
 122. CBBEP, GBEP, HRI, TGLO, and Texas Sea Grant College Program; Environmental and Coastal Law, 2004, $15,000.
 123. EPA, National Coastal Assessment for South Texas benthic analysis, 9/04-8/05, $16,000, Co-PI J. W. Tunnell, Jr.
       (with Kim Withers).
 124. Texas Excellence Fund, Texas coastal research development, 9/04-8/05, $27,000, Co-PI J. W. Tunnell, Jr. (with Kim Withers, Liz
      Smith, and Marion Nipper).
 125. Texas Excellence Fund, Coastal and Marine Systems Studies, 06/05-08/05, $24,000, Co-PI J. W. Tunnell, Jr. (with M. Nipper, E.
      Smith, and K. Withers).
 126. Proyecto Costa Noroccidental: Project of the Northwest Coast-A Comprehensive Research and Conservation Program for Cuba’s
      Gulf of Mexico Coast, The Bay Foundation and The Josephine Bay Paul and C. Michael Paul Foundation, 05/05-05/06 $110,100
      (with D. Guggenheim and F. Bretos).
 127. Expedition to South Texas Submerged Banks, Harte Research Institute, 09/06 – 10/06, $50,000, PI J. W. Tunnell, Jr., Chief Scientist
      Proyecto Costa Noroccidental: Project of the Northwest Coast-A Comprehensive Research and Conservation Program for Cuba’s
      Gulf of Mexico Coast, The Bay and Paul Foundations, 05/07-05/08, $100,000 (with D. Guggenheim and F. Bretos).
 128. NOAA, Effects of globally transported African dust to Caribbean marine ecosystems, 2/05-1/06, 47,529 (with Marion Nipper and
      Scott Carr).
 129. NOAA, Environmental Cooperative Science Center, $12.5 million for five years (2006-2011) Larry Robinson, PI at Florida A&M
      University, $175,000 per year to J.W. Tunnell as Co-PI.
 130. NOSB, National Ocean Sciences Bowl, 2006, $15,000.
 131. NOSB, National Ocean Sciences Bowl, 2007, $15,000.
 132. Marine Ventures Foundation, Cuba Research Program, 2006, $10,000 per year.
 133. Marine Ventures Foundation, Cuba Research Program,, 2007, $10,000 per year.
 134. Northwest Cuba Project, Reynolds Foundation, 2007-2008, $35,000, J.W. Tunnell, Jr. with David Guggenheim.
 135. Northwest Cuba Project, Bay Paul Foundation, 2007-2010, $100,000, J.W. Tunnell, Jr. with David Guggenheim.
 136. Teacher and student marine science workshops and training, Corpus Christi ISD – T-STEM Innovation Academy for
      Environmental, Engineering, and Marine Science, 2007-2008, $43,100, PI John W. Tunnell, Co-PI Suraida Nañez-James
 137. Laguna Outreach Project, Corpus Christi ISD – T-STEM Innovation Academy for Environmental, Engineering, and Marine
      Science, 2007-2008, $29,880, PI John W. Tunnell, Co-PI Suraida Nañez-James
 138. Summer High School Internship Program (SHIP), Coastal Bend Community Foundation, Summer 2008, $5,500, PI John W.
      Tunnell, Co-PI Sandra Arismendez, Co-PI Suraida Nañez-James.
 139. CCISD, STEM funding for HRI education-outreach, multi-year funding from 2008-2011, $38,800, PI J.W. Tunnell, Jr.
 140. National Ocean Science Bowl (NOSB), Consortium for Oceanographic Research and Education (CORE), 2008, $15,000; 2007
      $15,000; 2006, $15,000; 2005, $15,000, Other sponsors: CCS, HRI, CBBEP, GOMF, 2008 ~$15,000, PI John W. Tunnell
 141. NOAA Environmental Cooperative Science Center, $785,000 (2007- 2011), Co-PI J. W. Tunnell, Jr. (with Florida A&M University
      and five others)
 142. Phase II – Biodiversity of the Gulf of Mexico, NOAA, 2008, $27,000, PI J. W. Tunnell, Jr.
 143. Phase II – Biodiversity of the Gulf of Mexico, Sloan Foundation, 2008-2009, $45,000, PI J. W. Tunnell, Jr.
 144. South Texas Bank Exploratory Studies, Texas Research Development Fund, 2008-2009, $32,461, PI J.W. Tunnell, Jr.
 145. Gulf of Mexico Biodiversity Informatics, Texas Research Development Fund, 2009-2011, PI J.W. Tunnell, Jr.
 146. Biodiversity of the Gulf of Mexico books to Gulf of Mexico labs, Consortium for Ocean Leadership (Census of Marine Life), 2010,
      $3000, PI J.W. Tunnell, Jr.
 147. Multibeam Mapping and Scientific Diving on South Texas Banks, Texas Research Development Fund, 2010-2011, $12,000, PI J.W.
      Tunnell, Jr.



                                                                  7
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 43 of 68



    148. Biodiversity of the Gulf of Mexico Database to GulfBase, Northern Gulf Institute/Gulf Research Initiative, 2010-2011, $100,000, PI
         J.W. Tunnell, Jr.
    149. Biodiversity of the Gulf of Mexico Database to GulfBase, Sloan Foundation, 2010-2011, $100,000, PI J.W. Tunnell, Jr.
    150. Detection, Response, and Diplomacy of the Invasive Lion Fish in Coastal Waters of Cuba, Lounsbery Foundation, 2011-2012,
         $75,000, PI J.W. Tunnell, Jr.
    151. Development of a Gulf of Mexico Ecosystem Report Card Prototype, Walton Family Foundation, 2011, J.W. Tunnell, Jr. Co-PI with
         L.D. McKinney.
    152. Environmental Cooperative Science Center, NOAA, 2011-2016, $2.5 million to TAMU-CC of $15 million total for five years, Lead
         Co-PI for TAMU-CC campus for Florida A&M University (Lead campus) J.W. Tunnell, Jr.


Field Work (chronological listing):
    •    Sandy beaches and coastal lagoons, state of Tamaulipas, México (primarily Washington Beach, Mesquital, and La Pesca), Nov. 1965,
         Mar. 1966, Jan. 1967, Feb. 1968, Jan. 1969, Oct. 1974, Mar. 1981, Sept. 1982, Mar. 1984, Mar. 1988, Mar. - Apr. 1990, Mar. 1991,
         May 1991, Mar. 1992, March 1993, June 1995 (Rancho Nuevo).
    •    Barra de Navidad, Manzanillo, México, Summer 1967.
    •    Seven and One-Half Fathom Reef, Texas, 1967-1969 (Master's Thesis). Oct. 2006.
    •    Northern California Coast, 1969-1971.
    •    East and West Coasts of Northern Baja, México, Oct. 1970.
    •    Coral reefs of Abaco, New Providence and Andros Islands, Bahama Islands, Aug. - Sept. 1971.
    •    Coral reefs and platforms in Dry Tortugas, Florida, Sept. 1971.
    •    Submerged banks and ridges off West Coast of Florida and Florida Keys, 1971-72.
    •    West Flower Garden bank, Northeastern Gulf of México, Oct. 1972.
    •    Coral reefs off East Coast of México, State of Veracruz, May - Jun. 1973 (Ph.D. dissertation on coral reef molluscs).
    •    Lobos Reef, Veracruz, México, June. 1976, 1977.
    •    Rocky and sandy seashores, state of Veracruz, México, Aug. 1976; Jan. 1976; Oct. 1977, 1979, 1981, 1983; Nov. 1986, 1993. Oct.-
         Nov. 1990.
    •    Molluscs of rocky seashore. Punta Delgado, Veracruz, México, Mar. 1977.
    •    Enmedio Reef, Veracruz, México, Jun. 1978, 1979, 1980, 1983, 1984, 1985, 1987, 1988, 1989, 1990, 1991, 1993, 2010; Jan. 1979; Aug.
         1980, 1983; Sept. 2002. Oct. 1977, 1979, 1981, 1983, 1986, 1987; Nov. 2010.
    •    Mapping of Lower Laguna Madre, Texas, Jul. - Aug. 1979.
    •    Nearshore beaches, benthos, and coral reefs in southern Persian Gulf, Abu Dahbi, United Arab Emirates, Sept. 1979.
    •    Wind tidal flats, South Padre Island, Texas, Apr. - Nov. 1980.
    •    Wind tidal flats, Kenedy County, Land cut area, Jul. 1987 -1995.
    •    Beaches, Bay of Campeche and west, north, and east coast of Yucatan Peninsula, Jul. - Aug. 1980.
    •    Sebree Bank and several offshore platforms, South Texas Outer Continental Shelf, Aug. 1981.
    •    Tahiti, Moorea, Rangiroa Atoll, French Polynesia, coral reef trips associated with Fifth International Coral Reef Congress, May -
         Jun. 1985.
    •    Coral reefs of Yucatan Peninsula, México: Puerto Morelos, Sept. 1985; Banco Chinchorro, Nov. - Dec. 1985; Alacran, Jan., Jul.
         1986; Cayo Arenas, Mar. 1986; Cayos Arcas, Apr. 1986; Triangulos, May 1986.
    •    Reefs, beaches, shorelines, lagoons Yucatan Peninsula, various times between Sept. 1985 - Jul. 1986 (lived in northern Yucatan on
         Fulbright Scholarship).
    •    Lived on beach/lagoon system of Chicxulub Puerto, northwestern Yucatan state, México from late Aug. 1985 through June. 1986.
         Conducted various beach and lagoon surveys, collected molluscs, and took photographs throughout entire period of time.
    •    Nichupte and Bojorquez lagoons, Cancun, Quintana Roo, México, Jul. 1986.
    •    Barrier islands, estuaries, and Gulf of México adjacent to Texas Coastal Bend, Sept. 1974-Present.
    •    East Flower Garden Bank, Northwestern Gulf of México, Aug. 1987.
    •    Quintana Roo, México, coastal environments (Puerto Aventuras), Dec. 1987.
    •    Heron Island, Great Barrier Reef, Queensland, Australia, Aug. 1988.
    •    Quintana Roo, México, nearshore marine environments (CALICA), Sept., Oct. 1988.
    •    Cozumel Island, Quintana Roo, México, coral reefs, Sept. 1989.
    •    Quintana Roo, México, coastal, nearshore, and coral reef environments (Kantenah), Feb. 1990.
    •    Banco Chinchorro, Caribbean Sea, Quintana Roo, México, coral reef investigation, Jul-Aug. 1991.
    •    Guam and Palau, Pacific Ocean, coral reef field trips, Jul. 1994.
    •    Quintana Roo, México, coral reef/coastal ecological characterization, Sea Grant Project at El Placér, May 1992, Oct. 1992.
    •    Quintana Roo, México, coral reefs and coastal communities in Sian Ka'an Biosphere Reserve Mar., May, June 1994, May 1996, May
         1997, May 1998, May and August 1999, May 2000, May 2001, May 2002, May 2003, May 2004, May 2005, June 2006, May 2007.
    •    Coral reefs of Bonaire and Curacao, Netherland Antilles, July 1996.
    •    Flower Garden Banks, Northwestern Gulf of México, Sept. 1997; and Stetson, Aug. 2006.
    •    Laguna Madre de Tamaulipas, Jan. 1999.
    •    Bali, Indonesia, Oct. 2000.
    •    Veracruz Coral Reef System, Southwestern Gulf of Mexico, Sept.-Aug. 2002.
    •    Kerama Islands, Akajima Island, Okinawa, Japan, coral reefs, July 2004.
    •    Pully Ridge, Southwest Florida, July 2006
    •    South Texas Banks, July 2009




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 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 44 of 68




Invited Papers/Presentations:
   1.    Submerged bank and coral reef molluscs of the Western Gulf of México; Symposium on - Molluscs of the Gulf of Mexico; American
         Malacological Union, 45th Annual Meeting; Corpus Christi, Texas; 5-11 Aug. 1979.
   2.    Impact of IXTOC oil on intertidal and shallow subtidal infauna of the south Texas coast; Symposium on The Environmental Effects
         of the México Oil Spill; Texas Academy of Sciences, 83rd Annual Meeting; Corpus Christi, Texas; 6-8 Mar. 1980.
   3.    Environmental effects of IXTOC I oil spill on south Texas barrier island beaches; Second Annual Southwestern Spill Conference;
         Padre Island, Texas; 24-26 Mar. 1980.
   4.    Observations on IXTOC I oil impact on southwestern Gulf of México coral reefs(with Q.R. Dokken); Congreso sobre Problemas
         Ambientales de Mexico; México City, Mexico; 8-12 Dec. 1980.
   5.    Environmental effects of IXTOC I oil spill on south Texas barrier island beaches (with B.R. Chapman); Congreso sobre Problemas
         Ambientales de México; México City; 8-12 Dec. 1980,
   6.    Environmental impact of IXTOC I oil spill on south Texas sandy beaches; Infauna and shorebirds; Simposio Internacional IXTOC I
         (with B.R. Chapman, M.E. Kindinger, Q.R. Dokken); México; México City; 2-5 Jun. 1982.
   7.    IXTOC oil in the seagrass beds surrounding Isla de Media (with B.J. Baca, T.M. Schmidt); Simposio Internacional IXTOC I
         México; México City; 2-5 Jun. 1982.
   8.    Biological lines along the gulf coast; Symposium on Coastal Boundaries; Corpus Christi, Texas; 22-23 July 1987.
   9.    Current status of Texas bays and estuaries; Texas Environmental Coalition Assembly; Houston, Texas; 18 July 1992.
   10.   Arrecifes coralinos del sureste de Quintana Roo; Instituto Technologico de Chetumal; Chetumal, Quintana Roo, México; 24 July
         1993.
   11.   Coral reef mollusks of the southern Gulf of México; Conchologists of America Convention; Corpus Christi, Texas; 18 July 1994.
   12.   Evaluation of burning as an oil spill cleanup technique in a high marsh community along the South Texas coast; Gulf of México and
         Caribbean Oil Spills in Coastal Ecosystems: Assessing Effects, Natural Recovery, and Progress in Remediation Research (with B.
         Hardegree and D.W. Hicks); New Orleans, Louisiana; 14-15 July 1994.
   13.   A look at priority problems - condition of living resources; CCBNEP All-Conference Workshop; Corpus Christi, Texas; 4 February
         1995.
   14.   Habitats of the Corpus Christi Bay National Estuary Program; The 3rd Gulf of México Symposium; Corpus Christi, Texas; 29
         March-1 April 1995.
   15.   Wonders Under the Sea - Mangrove Forests; Public Television Program via Texas State Aquarium; Nov. 1995.
   16.   Coral reefs of the southern Gulf of México; Conference for the Advancement of Science Teaching; Corpus Christi, Texas; 10 Nov.
         1995.
   17.   Resources of the Gulf of México; Philosophical Society of Texas; Corpus Christi, Texas; 1-3 Dec. 1995.
   18.   Coral reef biodiversity in the southern Gulf of México; Texas Branch Annual Meeting, American Society of Microbiologists; Corpus
         Christi, Texas; 7 Dec. 1995.
   19.   Coral reefs of the southern Gulf of México-natural resources and environmental impacts; Phi Sigma Seminar, the University of
         Texas at Arlington; Arlington, Texas; 19 November 1996.
   20.   Studies conducted by the Center for Coastal Studies; Southeast Consortium for Ocean Research (SECOR); New Orleans, Louisiana;
         21 April 1997.
   21.   The Texas coast - The environment as the economy; Leadership Texas 1997 Annual Conference; Corpus Christi, Texas; 7 August
         1997.

   22. Coral reefs of the southern Gulf of México-resources and impacts; the British Museum of Natural History; London England; 8
       April 1998.
   23. Coral reefs of the southern Gulf of México-resources and impacts; University of Texas at Brownsville; 1 March 1999.
   24. Laguna Madre Compendium; Education Days ’99 Bi-National Conference; Texas Center for Policy Studies; Ft. Brown Resort at
       Brownsville; 10 December 1999.
       Southern Gulf of México coral reefs: resources and impacts; Gulf of México Symposium 2000; Mobile, Alabama; 9-12 April 2000.
   25. Laguna Madre Compendium; Bi-National Laguna Madre Region Economic and Natural Resource Symposium; Texas Center for
       Policy Studies; So. Padre Island, Texas; 14 April 2000.
   26. Laguna Madre de Tamaulipas; International Research Symposium on Ecosystem Resiliency and Its Limits (IACERE); Americas
       Center on Science and Society and the New York Academy of Sciences; New York; 4-8 December 2000.
   27. Laguna Madre Compendium; Opportunities for Addressing Human Impacts on the Gulf of México Ecosystem, a Binational
       Workshop; Pronatura and Texas Center for Policy Studies; Ciudad Victoria, Tamaulipas, México; 7-9 March 2001.
   28. Status of introduced marine mussels of the genus Perna in the Gulf of México (with David Hicks and Robert McMahon);
       Symposium on Texas Aquatic Exotics; Ecology, Impacts, Management, and Policy; Texas Academy of Sciences 104th
       Annual Meeting; San Marcos, Texas; 1-3 March 2001.
   29. Arrecifes coralinos del sur del Golfo de México: Recursos e impactos; Seminario de Pesquerias y Biología Marina; CICIMAR, La
       Paz, Baja California del Sur, México; 13 November 2001.
   30. Minorities in Marine Science, panel organizer with Dr. Matt Gilligan in the National Association of Marine Laboratories/Southern
       Association of Marine Laboratories Annual Meeting; Newport, Oregon; 3-6 October 2001.
   31. Harte Research Institute for Gulf of Mexico Studies; Hydrographic Society of America; Houston, Texas; 10 April 2002.
   32. Harte Research Institute for Gulf of Mexico Studies; Regional Leaders Forum; George West Texas; 21 March 2002.
   33. Harte Research Institute for Gulf of Mexico Studies; Leadership Texas; Corpus Christi, Texas; 15 April 2002.
   34. Laguna Madre of Texas and Tamaulipas and Harte Research Institute for Gulf of Mexico Studies; Coastal Bend Chapter,
       National Audubon Society; Corpus Christi, Texas; 5 March, 2002.
   35. Harte Research Institute for Gulf of Mexico Studies; 55th Annual Gulf and Caribbean Fisheries Institute Mexus Gulf Joint
       Response Team Meeting on the Harte Research Institute; Matamoros, Mexico; 2 February, 2003.
   36. Laguna Madre of Texas and Tamaulipas; Seminar, Cesar Kleberg Wildlife Research Institute; Texas A&M University-Kingsville;
       Kingsville, Texas; 20 February 2003.




                                                                   9
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 45 of 68



   37. The Gulf of Mexico – Past, Present, and Future: A United States, Mexico, and Cuba Collaboration; Environmental Diagnosis of the
       Gulf of Mexico Workshop; Instituto de Ecologia; Veracruz, Mexico; 20 August, 2003.
   38. Gulf of Mexico Research, The Sea and coasts: fundamental elements in social development; 6th Congress on Marine Sciences
       MarCuba ‘2003 Conference; Havana, Cuba; 1-5 December 2003.
   39. Coastal and Ocean Conservation Issues and Harte Research Institute for Gulf of Mexico Studies; TPWD Commission Retreat;
       Rockport, Texas; (with Dr. Sylvia A. Earle); 14 April 2004.
   40. International Collaboration for Research in the Gulf of Mexico; Tarpon Tomorrow Conference; Veracruz, Mexico; 8 May 2004.
   41. Gulf of Mexico Biodiversity; Caribbean Conference on Biodiversity; Census of Marine Life; Isla Margarita, Venezuela; 14-17 June,
       2004.
   42. Biodiversity of the Gulf of Mexico, U.S. National Committee of the Census of Marine Life, National Geographic Society,
       Washington, D.C., March 2005.
   43. Harte Research Institute for Gulf of Mexico Studies; Coastal Coordination Council Meeting of the Texas General Land Office;
       Texas A&M University-Corpus Christi; Corpus Christi, Texas; September 2005.
   44. Oceans and Coasts; Second Annual Harvey Weil Conservation Symposium, “Land, Sea, and Coast: What are the Issues? Ask the
       Experts;” Harte Research Institute for Gulf of Mexico Studies; Corpus Christi, Texas; October 2005.
   45. Biodiversity of the Gulf of Mexico; International Scientific Steering Committee Meeting; Census of Marine Life; Honolulu, Hawaii;
       February 2006.
   46. Coral reefs of the southern Gulf of Mexico and Harte Research Institute; Corpus Christi Museum of Science and Natural History;
       Corpus Christi, Texas; February 2006.
   47. Marine Protected Area Governance in the Gulf of Mexico; Marine Protected Area Federal Committee Meeting; Corpus Christi,
       Texas; March 2006.
   48. Harte Research Institute for Gulf of Mexico Studies and Texas Coastal Issues; Leadership Texas; Harte Research Institute for Gulf
       of Mexico Studies; Corpus Christi, Texas; April 2006.
   49. Gulf of Mexico Research; Keynote Speaker for MarCuba 2006 in Havana, Cuba; December 2006.
   50. NOAA: Census of Marine Life Seminar Series “Making Ocean Life Count – Biodiversity of the Gulf of Mexico”; Washington, D.C.;
       April 2007.
   51. IV Congresso Mexicano de Arrecifes de Coral; Presentation of Book Coral Reefs of the Southern Gulf of Mexico; La Paz, Baja
       California Sur; 24-26 October 2007.
   52. Coral Reefs of the Southern Gulf of Mexico; Mexican Coral Reef Society Annual Meeting; La Paz, Baja California, Mexico; 24-25
       Oct. 2007
   53. Gulf of Mexico Biodiversity Project; Census of Marine Life All-Program Annual Meeting; Auckland, New Zealand; 12-16 Nov. 2007.
   54. Gulf of Mexico Biodiversity Project; Census of Marine Life Meeting; Universidad Nacional Autonoma de Mexico Workshop; 27-28
       Nov. 2007
   55. Census of Marine Life in Ocean Observing Systems: Opportunities, Synergies, and Connections; Consortium for Ocean Leadership
       Annual Meeting; Washington, D.C.; 28-29 Feb. 2008.
   56. The Mexican Component of the Islands in the Stream Concept; A Scientific Forum on the Gulf of Mexico: The Islands in the Stream
       Concept; Mote Marine Laboratory, Sarasota, Florida; 23 Jan. 2008.
   57. Harte Research Institute for Gulf of Mexico Studies; Texas Legislative Visit to TAMUCC; 31 Mar. 2008.
   58. Recent Research on South Texas Topographic Features: Ecology. Annual ITM Meeting, Minerals Management Service, New
       Orleans, Louisiana; 7-9 Jan. 2009 (with D. Weaver and T. Shirley).
   59. Recent Research on South Texas Topographic Features: Mapping. Annual ITM Meeting, Minerals Management Service, New
       Orleans, Louisiana. 7-9 Jan. 2009 (with D. Weaver and T. Shirley).
   60. Gulf of Mexico LME and HRI – Parallel Thinking; Inception Workshop: Integrated Assessment and Management of the Gulf of
       Mexico Large Marine Ecosystem; Merida, Yucatan; 24-16 June 2009.
   61. State of Research in the Gulf of Mexico; ColacMarCuba 2009; Havana, Cuba; 26-30 October 2009.
   62. Ixtoc Blowout and Oil Spill; University of Houston 2010 Oil Spill Symposium; Houston, Texas; 23 Sept. 2010.
   63. U. S. National Committee Report, A Decade of Discovery-Census of Marine Life 2010; London, England; 3-6 October 2010.
   64. Environmental Impacts of Marine Oil Spills: Spatial, Temporal, and Historical Lessons Learned, or Not? (keynote lecture);
       SAFGOF Oil Spill Symposium; Kotka Maritime Research Center; Kotka, Finland; 16 Nov. 2010.
   65. Gulf of Mexico Oil Spills: Historically and Spatially (keynote lecture); SYKE Marine Research Center Seminar; Helsinki, Finland;
       17 Nov. 2010.
   66. Gulf of Mexico Oil Spills: A Historical and Spatial Perspective (keynote lecture); Bays and Bayous Symposium 2010; Mobile,
       Alabama; 1-2 December 2010.
   67. Deepwater Horizon Oil Spill; Gulf of Mexico Fishery Management Council, Texas Habitat Protection Advisory Panel; Houston,
       Texas; 8 December 2010.
   68. Ixtoc I Oil Spill, Plenary Roundtable 3-Impacts, Short-Term and Long-Term; Gulf of Mexico Oil Disaster Symposium, National
       Council for Science and the Environment; Washington, DC; 19 January 2011.
   69. International Place-based Protection Strategies and Partnership Panel: Cuba; Beyond the Horizon: A Forum to Discuss a Potential
       Network of Special Ocean Places to Strengthen the Ecology, Economy, and Culture of the Gulf of Mexico; Mote Marine Laboratory,
       11-13 May 2011.
   70. Impact of Oil Spills on Gulf of Mexico Coral Reefs. Special Symposium on Roadmap to Restoring the Ecological Health of the Gulf
       of Mexico after the BP Oil Spill. SER 2011 World Conference on Ecological Restoration. Merida, Yucatan. 21-25 August 2011.
   71. Gulf of Mexico Oil Spills: A Historical Spatial Perspective. SER-SETAC Symposium: Coastal Oil Spills Before and After the
       Deepwater Horizon: Integrating Impact and Assessment with Restoration. Merida, Yucatan. 24-27 August 2011.


Contributed Papers (presentations):
   1.   Molluscan populations of a submerged reef of Padre Island, Texas; American Malacological Union, 38th Annual Meeting; 9-14 July,
        1972; Galveston, Texas.




                                                                 10
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 46 of 68



 2.    A pleurotomariid gastropod from the Northwestern Gulf of México, American Society of Zoologists Annual Meeting; 27-30 Dec.,
       Houston.
 3.    Fauna of a submerged bank on the inner continental shelf off the Brazos River, Texas; Texas Academy of Sciences Annual Meeting;
       4-5 Mar. 1976.
 4.    Coral reef molluscs of the southwestern Gulf of México; American Malacological Union, 43rd Annual Meeting; 10-15 Jul. 1977;
       Naples, Florida.
 5.    Distribution of Discradisca antillarum (d' Orbigny, 1846) (Brachiopoda; Inarticulata) in the western Gulf of México; Symposium on
       South Texas Fauna in honor of Dr. Allan H. Chaney, Texas A&I University, Kingsville, Dec. 1977.
 6.    Organized and conducted a symposium of the 1978 Texas Academy of Sciences Lubbock, Texas, 9-11 Mar. 1978. Title - The
       Organisms and Ecology of Lobos Reef, Veracruz, México. Gave one paper and co-authored one other:
            a) Arrecife Lobos, a southwestern Gulf of México Coral Reef
            b) The molluscs of Lobos Reef (with G.N. Wiley)
 7.    Mollusks of the Punta del Morro - Punta Delgada region, Veracruz, México; American Malacological Union, 45th Annual Meeting:
       5-11 Aug. 1979; Corpus Christi, Texas (with R.C. Circé and G.N. Wiley).
 8.    Mollusks of shelf-edge submarine banks in the northwestern Gulf of México; American Malacological Union, 45th Annual Meeting;
       5-11 Aug. 1979; Corpus Christi, Texas (with J.C. Woods).
 9.    Effects of IXTOC I oil spill on the intertidal and subtidal infaunal populations along lower Texas coast barrier island beaches; 1981
       Oil Spill Conference, 2-5 Mar. 1981; Atlanta, Georgia.
 10.   Marine and halophytic communities of the Tamaulipan Biotic Province; International Symposium on the Tamaulipan Biotic
       Province; 28-30 Oct. 1982; Corpus Christi, Texas.
 11.   The distribution and ecology of the molluscs of Corpus Christi Bay, Texas. Texas Academy of Sciences Annual Meeting, 3-5 Mar.
       1983; Nacogdoches, Texas. (with M.C. Castiglione).
 12.   The reptant decapods of Enmedio and Lobos coral reefs, southwestern Gulf of México. Texas Academy of Sciences Annual Meeting,
       3-5 March 1983; Nacogdoches, Texas. (with R.L. Allen).
 13.   Echinoderms of Enmedio reef, southwestern Gulf of México. Texas Academy of Sciences Annual Meeting, 3-5 Mar. 1983;
       Nacogdoches, Texas. (with D.H. Henkel).
 14.   Southwestern Gulf of México coral reefs: Ten years of teaching and research. Texas Academy of Sciences Annual Meeting, 15-17
       Mar. 1984; San Antonio, Texas.
 15.   A new coastal studies center at Corpus Christi State University; Gulf Estuarine Research Society, Fall Meeting, Oct. 1984;
       Galveston, Texas.
 16.   The seasonal abundance and zonation of two species of Donax (Bivalvia: Donacidae) on two south Texas sandy beaches; Texas
       Academy of Sciences Annual Meeting, 14-16 Mar. 1985; Dallas, Texas.
 17.   Environmental stresses of the Veracruz coral reefs (Southwestern Gulf of México); Fifth International Coral Reef Congress, 27
       May-1 Jun. 1985; Tahiti, French Polynesia.
 18.   Importance of polychaetes to penaeid pond culture (Poster); World Mariculture Society Annual Meeting; 18-23 Jan. 1987;
       Guayaquil, Ecuador (with M.T. Ordner, A.L. Lawrence).
 19.   Coral reefs and islands of the Campeche Bank, Southeastern Gulf of México; Texas Academy of Sciences Annual Meeting; 5-7 Mar.
       1987; Huntsville, Texas.
 20.   Distribution of shelf and shelf-edge banks in the northwestern Gulf of México (Poster); Society of Economic Mineralogists and
       Paleontologists Fourth Annual Midyear Meeting; Austin, Texas (with Ron Circe), 20-23 Aug. 1987.
 21.   Regional comparison of southwestern Gulf of México to Caribbean Sea coral reefs; Sixth International Coral Reef Symposium;
       Townsville, Queensland, Australia, 8-12 Aug. 1988.
 22.   Quantitative assessment of an unusually dense octocoral community in the southwestern Gulf of México (Poster); Sixth International
       Coral Reef Symposium; Townsville, Queensland, Australia (with T. Stinnett and T. Nelson), Aug. 1988.
 23.   Species composition and ecological zonation of the sponge fauna of Enmedio Reef, Veracruz, México; Texas Academy of Sciences
       Annual Meeting; Beaumont, Texas (with T. Nelson), 3-4 Mar. 1989.
 24.   The seasonal abundance and zonation of intertidal and subtidal infaunal invertebrates on two Texas barrier island sandy beaches;
       Texas Academy of Sciences Annual Meeting; Beaumont, Texas (with M.E. Vega), 3-4 Mar. 1989.
 25.   Effects of Hurricane Gilbert on the benthic macro infauna of two south Texas barrier island sandy beaches; Texas Academy of
       Sciences Annual Meeting; Beaumont, Texas (with B. Ruth, P. Baker, B. Hardegree, S. Schonberg, and M.E. Vega), 3-4 Mar. 1989.
 26.   A survey of fauna associated with oyster reefs in the Corpus Christi Bay, Texas area; Texas Academy of Sciences Annual Meeting;
       Beaumont, Texas (with A. Drumright), 3-4 Mar. 1989.
 27.   A high density-low diversity octocoral community in the southwestern Gulf of México (Poster). American Academy of Underwater
       Sciences; Woods Hole, Mass, 29 Sept. - 1 Oct. 1989.
 28.   A comparison of community structures between two forereefs in the southwestern Gulf of México; Texas Academy of Sciences
       Annual Meeting; San Marcos, Texas (with T. Nelson), 2-3 Mar. 1990.
 29.   Overview of marine research: Center for Coastal Studies, CCSU-TAMU; Conference on Marine Research - South Texas Bays and
       Estuaries; Port Aransas, Texas, Feb. 1990.
 30.   Salt marsh creation in the Nueces River Delta, Texas: Establishment of estuarine faunal use; The Coastal Society Twelfth
       International Conference; San Antonio, Texas (with B. Ruth and T. Grahl), 21-24 Oct. 1990.
 31.   Shoreline determination along gently sloping shores: a multi-disciplinary approach in the Texas Laguna Madre; The Coastal
       Society Twelfth International Conference; San Antonio, Texas (with R. Watson, B. Lothrup, and S. Ratliff), 21-24 Oct. 1990.
 32.   Coral reef of the southern Gulf of México: A resource ranging from pristine to stressed; America’s Sea (Gulf of México)
       Symposium; New Orleans, Louisiana, 2-5 Dec. 1990.
 33.   A quantitative survey of the ichthyofauna of Arrecife de Enmedio, Veracruz, México; Gulf Estuarine Research Society Spring
       Meeting; Port Aransas, Texas (with P. Chocair), 2-4 April 1992.
 34.   A topographic description of Enmedio Reef, Veracruz, Mexico; Gulf Estuarine Research Society Spring Meeting; Port Aransas,
       Texas (with R. Lehman), 2-4 April 1992.
 35.   Ecological characterization and historical changes in the Blind Oso, Corpus Christi Bay System; Gulf Estuarine Research Society
       Spring Meeting; Port Aransas, Texas (with T. Barrera), 2-4 April 1992.



                                                                  11
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 47 of 68



 36. Effects of a severe freeze on seagrasses and associated bivalve Mollusca in Laguna Madre; Gulf Estuarine Research Society Spring
     Meeting; Port Aransas, Texas (with D. Hicks), 2-4 April 1992.
 37. Utilization of a salt marsh mitigation site in the Nueces Delta, Texas: Comparative estuarine faunal use; Gulf Estuarine Research
     Society Spring Meeting; Port Aransas, Texas (with J. Adams), 2-4 April 1992.
 38. Estuarine faunal use in a mitigation project, Nueces River Delta, Texas: Years two and three. South Texas Bays and Estuaries
     Annual Meeting, University of Texas Marine Science Institute, Port Aransas, Texas (with B. Nicolau, J. Adams, D. McKee, J. Prouty,
     and T. Grahl), March 1993.
 39. The benthic macroalgal community of Enmedio Reef, Veracruz, Mexico; A comparison between leeward and windward
     environmental conditions on structure; 97th Annual Meeting of the Texas Academy of Sciences; Houston, Texas (with Roy Lehman),
     3-5 March 1994.
 40. Aspects of growth and recruitment of the recently introduced brown mussel, Perna perna, in the western Gulf of México; Gulf
     Estuarine Research Society Spring Meeting; Beaumont, Texas (with D. Hicks), 7-9 April 1994.
 41. Aspects of growth and recruitment of the recently introduced mussel, Perna perna (Linnaeus, 1758), from the South Texas coast;
     60th Annual Meeting of the American Malacological Union, Houston, Texas (with D. Hicks), 9-14 June 1994.
 42. Mollusca of the southwestern Gulf of México rocky shores, Veracruz, México; 60th Annual Meeting of the American Malacological
     Union, Houston, Texas (with S.A. Alvarado and D. Rocha), 9-14 June 1994.
 43. Environmental impact and recovery of the Exxon Pipeline oil spill and burn site, upper Copano Bay, Texas; Gulf Estuarine
     Research Society Annual Meeting; Beaumont, Texas (with B. Hardegree and D. Hicks), 7-9 April 1994.
 44. Population dynamics of the recently introduced brown mussel, Perna perna (Linnaeus, 1758), in the western Gulf of México;
     Aquaculture, San Diego, California (with D. Hicks), '95; 1-4 February 1995.
 45. Environmental impact and recovery of a high marsh pipeline oil spill and burn site, Upper Copano Bay, Texas; 1995 International
     Oil Spill Conference; Long Beach, California (with B. Hardegree and D. Hicks), 27 Feb-2 March 1995.
 46. Population dynamics in the recently introduced mussel, Perna perna, from the Gulf of México. 98th Annual of the Texas Academy of
     Sciences; Waco, Texas, 2-4 March 1995.

 47. Quantitative assessment of benthic populations in a fresh/brackish-water marsh: Mad Island Wildlife Management Area,
     Matagorda County, Texas. 98th Annual Meeting of the Texas Academy of Sciences, Waco, Texas (with S. Cox, R. Lehman), 2-4
     March 1995.
 48. Aspects of Piping Plover ecology on Mustang Island, Texas. 98th Annual Meeting of the Texas Academy of Sciences, Waco, Texas
     (with C. Lee), 2-4 March 1995.
 49. Preliminary results of the vertical zonation and abundance of sponges on an outer continental shelf gas production platform,
     northwest Gulf of México. 98th Annual Meeting of the Texas Academy of Sciences, Waco, Texas (with C. Adams and Q.R. Dokken),
     2-4 March 1995.
 50. Living Resources of the Corpus Christi Bay National Estuary Program. The 3rd Gulf of México Symposium, Corpus Christi, Texas
     (with L. Smith), 29 March-1 April 1995.
 51. Mussels Muscle in on the Gulf of México. The 3rd Gulf of México Symposium, Corpus Christi, Texas (with D. Hicks, poster), 29
     March-1 April 1995.
 52. High salt marsh plant succession following in situ burning of spilled oil on the South Texas coast. Estuarine Research Federation,
     13th International Conference; Corpus Christi, Texas (with B. Hardegree and D. Hicks), 12-16 Nov. 1995.
 53. Estuarine faunal use in a mitigation project, Nueces River Delta, Texas: 1989 through 1994. Estuarine Research Federation, 13th
     International Conference; Corpus Christi, Texas (with B. Nicolau, J. Adams, and B. Ruth), 12-16 Nov. 1995.
 54. Evaluation of aquatic macrofaunal populations in a coastal marsh: Mad Island Wildlife Management Area, Matagorda County,
     Texas. Estuarine Research Federation, 13th International Conference, Corpus Christi, Texas (with S. Cox, R. Lehman, L. Smith, and
     T. Merendino), 12-16 Nov. 1995.
 55. Seven and One-Half Fathom Reef: A hard-bottom reef located in the northwestern Gulf of México. 99th Annual Meeting of the
     Texas Academy of Sciences, Galveston, Texas (with R. Lehman), 1-2 Mar. 1996.
 56. Estuarine faunal use in a mitigation project, Nueces River Delta, Texas: Years three and four. 99th Annual Meeting of the Texas
     Academy of Sciences, Galveston, Texas (with B. Nicolau), 1-2 Mar. 1996.
 57. Long-term monitoring of estuarine faunal use in the Nueces Delta Mitigation Project, Corpus Christi, Texas: 1989 through 1995.
     23rd Annual Ecosystem Restoration Conference, Tampa, Florida (with B. Nicolau, J. Adams, and B. Ruth), May 1996.
 58. Fluorescent banding in reef corals as evidence of increased (organic) runoff onto the southern Veracruz coral reef complex.
     8th International Coral Reef Symposium, Panama City, Panama (with C. Beaver, H. Hudson, and
     K. Deslarzes), 24-29 June 1996.
 59. Status of western Atlantic coral reefs in northern areas of the wider Caribbean. 8th International Coral Reef Symposium, Panama
     City, Panama (with J. Lang, P.M. Alcolado, and P. Dustan), 24-29 June 1996.
 60. Coastal high marsh oil spill clean-up by burning: five-year evaluation. 1999 International Oil Spill Conference, Seattle, Washington
     (poster with L. Hyde and K. Withers), 6-11 March 1999.
 61. An international cooperative effort to provide monitoring for the Sian Ka'an Biosphere Reserve, Quintana Roo, México.
     International Conference on Scientific Aspects of Coral Reef Assessment Monitoring, and Restoration, Ft. Lauderdale, Florida
     (poster with C. Beaver), 14-16 April 1999.
 62. Long term monitoring and assessment of the Flower Garden Banks coral ecosystem. International Conference on Scientific Aspects
     of Coral Reef Assessment Monitoring, and Restoration, Ft. Lauderdale, Florida (with Q. Dokken, I. MacDonald, and C. Beaver), 14-
     16 April 1999.
 63. Faunal succession in brackish, ephemeral ponds in a high marsh on the Central Texas coast. 15th Biennial Estuarine Research
     Federation (ERF) International Conference, New Orleans, LA (poster with K. Withers), 25-30 September 1999.
 64. Ecological characterization of northwestern Caribbean ironshores, Quintana Roo, México. 15th Biennial Estuarine Research
     Federation (ERF) International Conference, New Orleans, LA (poster with A. Kolterman), 25-30 September 1999.
 65. Laguna Madre of Texas and Tamaulipas: an ecological synthesis for the development of conservation strategies. 15th Biennial
     Estuarine Research Federation (ERF) International Conference, New Orleans, LA., 25-30 September 1999.
 66. The systematics, distribution, and ecology of the mollusks of Stetson Bank, northwestern Gulf of México. 103rd Annual Meeting of



                                                                12
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 48 of 68



      the Texas Academy of Science, Kingsville, Texas (with L. Hyde), 9-11 March 2000.
 67. Long term monitoring and assessment of the Flower Garden Banks coral ecosystem. Gulf of México Symposium, Mobile, Alabama
     (poster with Q. Dokken) 9-12 April 2000.
 68. Benthic community response to bioremediation experiments on the San Jacinto River, Channelview, Texas. 2001 Estuarine
     Research Federation (ERF) Conference, St. Petersberg, FL., (poster with E. Albert, R.L. Lehman, and K.
     Withers) 4-8 Nov., 2001.
 69. Preliminary prop scarring effects on molluscan community structure in seagrass meadows of Redfish Bay, Texas. 2001 Estuarine
     Research Federation (ERF) Conference, St. Petersberg, FL., (poster with J. E. Davidson and K. Withers) 4-8 Nov., 2001.
 70. Preliminary assessment of the benthic condition in the Coastal Bend bays and estuaries in Texas. 2001 Estuarine Research
     Federation (ERF) Conference, St. Petersberg, FL., 4-8 Nov., 2001 (poster with A. Nunez, and K. Withers).
 71. Faunal characterization of freshwater and estuarine sites in the Texas Coastal Bend. Texas Academy of Sciences, San Marcos,
     Texas, (poster with H.E. Hardaway, R.L. Lehman, and K. Withers), 2001.
 72. Effects of propeller scars on molluscan community structure in seagrass meadows of Redfish Bay, Texas. 105th Annual Meeting of
     the Texas Academy of Science, Laredo, Texas (with J. E. Davidson and K. Withers), 28 Feb-2 Mar. 2002.
 73. Larval fish recruitment to isolated nursery grounds in Nueces Bay, Texas. Larval Fish Conference, Bergen, Norway, (poster
     with D.J. Newstead, J. Tolan, D.A. McKee, and G. Hickman) 2002.
 74. Mesoamerican Barrier Reef Coral Disease Characterization. American Society of Limnology and Oceanography (ASLO), Victoria,
     B.C., Canada (poster with O. Guerra), June, 2002.
 75. Mesoamerican Barrier Reef Coral Disease Characterization. Society for the Advancement of Chicanos and Native Americans in
     Science (SACNAS), Anaheim, California (poster with O. Guerra), 26-29 September, 2002.
 76. Benthic community relationship to seagrass cover, Upper Laguna Madre and Baffin Bay, Texas. 106th Annual Meeting of the
     Texas Academy of Science, Nacogdoches, Texas (presentation with J. Pearce and K. Withers), 27 Feb.-1 March, 2003.
 77. Characterization of benthic macroinvertebrate communities in the Coastal Bend bays of Texas. 106th Annual Meeting of the
     Texas Academy of Science, Nacogdoches, Texas (Presentation with A. Nuñez, K. Withers and B.
     Nicolau), 27 Feb.-1 March, 2003.
 78. GulfBase: Un instrumento que coadyuva a la creación de redes de investigación del Golfo de Mexico. Workshop/Symposium on
     Coastal Ecosystems of the Gulf of Mexico: Towards the Integration of Research Groups, Boca del Rio, Veracruz Mexico
     (Presentation by Julio Sanchez with M. Nipper, I. Michaud and J.W. Tunnell), 30 June-2 July 2, 2004.
 79. Estudio comparativo sobre la dinamica poblacional de los especies do caracoles del genero plicopurpura en Mexico. IX Reunion
     Nacional de Malacologia y Conquiliologiâ Dr. Antonio Garcia-Cubas Gutierrez, Merida, Yucatan, Mexico (with E. Michel-Morfin
     and D. Hicks), 21-24 September 2004.
 80. Coral Reefs of the Southern Gulf of Mexico and Coastal Marine Research at Texas A&M University-Corpus Christi. Distinguished
     Seminar Series, Sam Houston State University, Houston, Texas, 30 September 2004.
 81. Efecto do la extraccion sucesiva del tinte sobre la tasa de repiracion del caracol plicopurpura pansa. Eighth International Congress
     on Medical and Applied Molacology, Mexico City, Mexico (with E. Michel-Morfin and D. Hicks), 10-13 November 2004.
 82. The Gulf of Mexico – Past, Present, and Future: Relating Ecology to Geology. Geological Society of America Annual Conference,
     Denver, Colorado (Technical Session – Co-Convenor with C.W. Holmes), 8-10 November 2004.
 83. Geologic origin and geographic location determine ecological fate of southern Gulf of Mexico coral reefs. Geological Society of
     America Annual Conference, Denver, Colorado (presiding with C.W. Holmes), 8-10 November 2004.
 84. Moretzsohn, F. and J.W. Tunnell, Jr. 2005. Biodiversity of marine mollusks of the Gulf of Mexico. 71st Annual Meeting of the
     American Malacological Society/38th Annual Meeting of the Western Society of Malacologists, Pacific Grove, California. Poster.
 85. Moretzsohn, F. and J.W. Tunnell, Jr. 2005. Biodiversity of marine mollusks in the Gulf of Mexico. Texas Bays and Estuaries,
     University of Texas Marine Science Institute, Port Aransas, Texas. Poster.
 86. Moretzsohn, F. and J. W. Tunnell, Jr. 2006. Update on the Biota of the Gulf of Mexico Project. 72nd American Malacological
     Society/39th Western Society of Malacologists Meeting, Seattle, WA. Oral Presentation.
 87. Arismendez, S.S., S. Nanez-James, T. Dellinger and J.W. Tunnell, Jr. 2008. Assessment of a hands-on science-based educational
     experience of a STEM academy in Corpus Christi, Texas. Poster presentation at the 111th Annual Meeting of the Texas Academy of
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     2009, Corpus Christi, Texas, Mar. 4–7, 2009. [oral presentation]
 91. Moretzsohn, F. and Tunnell, J. W., Jr. 2009. Biodiversity of marine mollusks in the Gulf of Mexico. Benthic Ecology Meeting 2009,
     Corpus Christi, Texas, Mar. 4–7, 2009. [poster presentation]
 92. Brenner, J., Moretzsohn, F., Tunnell, J. W., Jr., Shirley, T. and P. Michaud. 2009. Diseño y desarrollo de la base de datos de
     biodiversidad del Golfo de México. XIII Congreso Latinoamericano de Ciencias del Mar (ColacMar Cuba 2009). Havana, Cuba,
     October 26–30, 2009
 93. Brenner, J., Moretzsohn, F., Tunnell, J. W., Jr., and T. C. Shirley. 2009. Biodiversity database of the Gulf of Mexico: Design and
     development. DIM on the Gulf of Mexico Workshop, Texas A&M University-Corpus Christi, May 15–16, 2009.
 94. Tunnell, J. W., Jr., Andrews, J., Barrera, N. C. and F. Moretzsohn. 2009. Texas Seashells - A New Illustrated Guide. Texas Bays and
     Estuaries Meeting 2009, University of Texas Marine Science Institute, Port Aransas, Texas, Apr. 28–30, 2009.
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 96. Brenner, J., F. Moretzsohn, J.W. Tunnell, Jr., and T. Shirley. 2010. BioGoMx Database: Biodiversity of the Gulf of Mexico. In From
     Sea to Shining Sea: The role of Landscapes in Cross-Border Strategies. Biodiversity without Boundaries, NatureServe Conservation
     Conference 2010, Austin Texas April 26-28, 2010.
 97. Moretzsohn, F., Tunnell, J.W., Jr., Brenner, J., and T. Shirley. 2010. Gulf of Mexico: Pre-oil spill biotic baseline. 76th American
     Malacological Society and 43rd Western Society of Malacologists Annual Meeting, San Diego, California, June 26-30, 2010. [poster]



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 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 49 of 68



   98. Tunnell, J.W., F. Moretzsohn, D.L. Felder, and D.K. Camp. 2010. Comprehensive Regional Assessment of Known Biodiversity in a
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   99. Moretzsohn, F., J.W. Tunnell, Jr., J. Brenner, T.C. Shirley, and P. Michaud. 2011. Using the Biodiversity of the Gulf of Mexico
        Database as a Tool for Conservation of Marine Species. 2nd International Marine Conservation Congress, Victoria, British
        Columbia, Canada, 14-18 May 2011.
   100. Moretzsohn, F., Tunnell, J. W., Jr., McKinney, L., Brenner, J., Michaud, P., and T. C. Shirley. 2011. Mapping marine biodiversity
        using the Biodiversity of the Gulf of Mexico Database. NGI 2011 Annual Conference, Mobile, AL, May 17-19, 2011.
   101. Moretzsohn, F., J. Brenner, P. Michaud, J.W. Tunnell, Jr., and T. Shirley. 2011. Gulf of Mexico biodiversity inventory and beyond.
        World Congress on Marine Biodiversity 2011. Aberdeen, Scotland, 26-30 September 2011.
   102. Moretzsohn, F., J.W. Tunnell, Jr., and L. McKinney. 2011. Biodiversity baseline and the Deepwater Horizon Oil Spill. SOST
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   103. Nash, H.L., J.W. Tunnell, Jr., and S. Furiness. 2012 Biological contributions of South Texas Banks to Gulf of Mexico Large Marine
        Ecosystem, Subtropical Biology Conference, Edinburg, Texas, 13 January 2012. [poster]
   104. Wood, J.S., J. Gibeaut, J.W. Tunnell, Jr., and H.J. Cho. 2012. Hyperspectral remote species discrimination in optically shallow
        waters using AISA Eagle imagery, ENVI image processing software and ESRI’s ArcGIS software. Sixth NOAA Education
        Partnership Program Forum, Tallahassee, Florida, 26-28 March 2012.
   105. Tunnell, J.W., Jr., F. Moretzsohn, and L.D. McKinney. 2012. Gulf of Mexico biodiversity and the 2010 oil spill. Sixth NOAA
        Education Partnership Program Forum, Tallahassee, Florida, 26-28 March 2012.

Professional Societies:
   •    American Malacological Union
   •    California Malacozoological Society
   •    Estuarine Research Federation
   •    Gulf Estuarine Research Society
   •    Houston Conchology Society
   •    International Society for Reef Studies
   •    Texas Academy of Science
   •    Association of Marine Laboratories of the Caribbean
   •    Southern Association of Marine Laboratories
   •    National Association of Marine Laboratories


Honors and Awards:
   •    Fellow, Texas Academy of Sciences, designated 1981.
   •    Fulbright Scholar Award; Yucatan, México; Sept. 1985 - Jul. 1986.
   •    EPA Award for Environmental Excellence in Wetlands, Region 6, EPA, 1994.
   •    Regents Professor Service Award, Texas A&M University System Board of Regents, Jan. 1998.
   •    Distinguished Professor Award, Texas A&M University-Corpus Christi Alumni, 2003.
   •    U.S. National Committee, Census of Marine Life, 2005 -2010.
   •    Gulf Guardian Award, Bi-National Category for Gulfbase, 2006.
   •    Scientific Advisory Committee, Waitt Institute for Discovery, 2006 -2010.
   •    Fellow National, Explorers Club, March 2007-2010.
   •    TAMU-CC Excellence in Scholarly/Creative Activity Award for 2006-07.
   •    Gulf Guardian Award, Bi-National Category for book – Coral Reefs of the Southern Gulf of Mexico, 2008.
   •    Google Ocean Advisory Council, 2007 - 2009.
   •    Higher Education Award for Conservation and Environmental Stewardship, Coastal Bend Bays Foundation, 2009.
   •    Texas Sea Grant named the “Dr. Wes Tunnell Sportsmanship Award” for the best sportsmanship team of the NOSB for Texas, 2011.
   •    Harvey Weil Professional Conservationist of the Year, Corpus Christi Rotary Club, 2011.
   •    Emeritus Member Status with National and Southern Associations of Marine Laboratories designated 2012.


Current Research and Interests:
   •    Biodiversity of the Gulf of Mexico
   •    Systematics, distribution, and ecology of offshore reef and bank associated molluscs in the Gulf of México
   •    Coral reefs of southwestern Gulf of México and Yucatan Peninsula
   •    Effects of oil spills on the marine environment
   •    Sandy beach infaunal populations
   •    Determination of property and/or tidal boundaries along wind-tidal flats


Thesis/Dissertation/Technical Reports:
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        pp.




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Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 50 of 68



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       México. Ph.D. Dissertation, Biology Dept., Texas A&M Univ., College Station, Texas, 158 pp.
 3.    Tunnell, J.W., J.C. Woods, M.E. Kindinger, and J.L. Kindinger. 1978. Fauna of shelf-edge submarine banks in the northwestern
       Gulf of México. Open file report to U.S. Geological Survey, Office of Marine Geology. Contract No. 14-08-001-G-381. NTIS
       Publication No. PB-201 983. 66 pp.
 4.    Tunnell, J.W. 1978. Impact assessment of oil production at Tallahala Dam and Lake, Mississippi. Technical report to U.S. Army
       Corps of Engineers Mobile District. Contract No. DAC WO1-78-C-0211. 45 pp.
 5.    Tunnell, J.W. and Q.R. Dokken. 1979. Environmental directory of scientists, facilities, and projects along the central and south
       Texas coast. Report submitted to NOAA/OMPA, damage Assessment Prog., IXTOC I Oil Spill, Cont. No. NA 79RC00136. 61 pp.
 6.    Tunnell, J. W. 1980. Presence of barnacles on a fenceline traversing the wind-tidal flats of south Padre Island, Texas. Report to
       McGinnis, Lockridge, and Kilgore, Attorneys at Law, concerning South Padre Island/Wind Tidal Flats Lawsuit. 8 pp.
 7.    Tunnell, J.W. 1981. Impact assessment of the fate and effect of a brine spill into a freshwater environment (Tallahala Creek Lake,
       Mississippi). Technical Report to U.S. Army Corps of Engineers, Mobile District. Contract No. DACW01-81-M-9931. 31 pp.
 8.    Tunnell, J.W. 1981. Environmental aspects of Plan of Operations (Section 3) for exploratory drilling in State Tract 182 within
       Padre Island National Seashore. Corpus Christi Oil and Gas Company, Corpus Christi, Texas. 37 pp.
 9.    Tunnell, J.W. 1982. Plan of Operations (for exploratory drilling in State Tract 986 within Padre Island National Seashore). Pelto
       Oil Company (through Drilling, Completion, and Production Engineers, Inc., Houston, Tx.). 34 pp.
 10.   Tunnell, J.W. 1982. Environmental location of Marathon No. 1 well in State Tract No. 389, lower Laguna Madre, Texas. Report to
       Marathon Oil Company, Houston, Tx. 7 pp.
 11.   Tunnell, J.W. 1984. Environmental aspects of Plan of Operations, for exploratory drilling in State Tract 181 within Padre Island
       National Seashore. American Petrofina Corp., Corpus Christi, Tx. 9 pp.
 12.   Tunnell, J.W. 1984. Environmental survey of proposed site for new Pan-Am road entrance south of Four-Wheel Drive Sign on
       Padre Island National Seashore. Sun Exploration & Production Co., Corpus Christi, Tx. l0pp.
 13.   Tunnell, J.W. 1986. Preliminary environmental discussions and observations about a land-fill development across from Cancun
       Sheraton Resort between Nichupte and Bojorquez Lagoons, Cancun, Quintana Roo, México. Letter report to Subdelegacion de
       Ecologia, SEDUE, Quintana Roo, México. 3 pp.
 14.   Tunnell, J.W. 1988. Biological surveys of proposed road and wellsite location for Dunn-McCampbell A-96 (within Padre Island
       National Seashore). Sun Exploration and Production, Corpus Christi, Texas. 9 pp.
 15.   Tunnell, J.W. 1988. Philip Dimitt Municipal Pier propwashed channel site, upper Laguna Madre - Environmental assessment, aerial
       photographs, and mitigation options. Prepared for City of Corpus Christi, Legal Department. 45 pp., 13 photos.
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       a CALICA, Quintana Roo, México. Tech. Rpt. submitted to CALICA for SEDUE (Quintana Roo) by CINVESTAV - Unidad
       Merida. 52 pp., 32 photos.
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 18.   Tunnell, J.W. 1989. Marine environmental feasibility study for a cruise ship pier on Cozumel. Tech. Rpt. prepared by Coastal Zone
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 19.   Tunnell, J.W. 1990. Estudio ambiental para la restauracion de impactos en Kantenah, Cozumel, Quintana Roo. Tech. Rpt.
       prepared by Coastal Zone Consultants for Sr. C. Jose Luis Martinez Aldy. Vol. I-Text, 30 pp & 5 figs., Vol. II - Photographs, 53
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 20.   Tunnell, J.W. 1990. Resurvey of seagrass recovery at Philip Dimitt Municipal Pier propwashed channel site, upper Laguna Madre.
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 21.   Tunnell, J.W. J.S. Adams, T. Barrera, and D. Hicks. 1991. An annotated checklist of the fauna and flora of Oso Bay, Nueces
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       Estuary Regional Wastewater Study, Oso Bay Component. 26 pp.
 22.   Tunnell, J.W. 1992. Wetland delineation at the Refinery Terminal Fire Company Training Facility site, Corpus Christi, Texas.
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 23.   Tunnell, J.W. 1992. Preliminary wetlands delineation of Koch Refining Company west property. Coastal Zone Consultants Tech.
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 27.   Fisher, R. and J.W. Tunnell. 1993. Mission statement for Natural Resources Research Center, Al Akhawayn University in Ifrane,
       Kingdom of Morocco. Texas International Education Consortium. Austin, Texas. 4 pp.
 28.   Tunnell, J.W., R. Baker, and J. Richerson. 1993. Organizational design and staffing plan for Natural Resources Research Center,
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 29.   Tunnell, J.W., R. Baker, and J. Richerson. 1993. Facilities and equipment requirements for Natural Resources Research Center, Al
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Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 51 of 68



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       Texas A&M University-Corpus Christi. 42 pp.
 34.   Rocha, D.D., R.L. Lehman, S.A. Alvarado, J.W. Tunnell, Jr., and P.A. Montagna. 1995. A comparison of the benthic community
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 35.   Hardegree, B.J. Adams, and J.W. Tunnell. 1995. Seagrass/depth survey for removal of Well No. 1, State Tract 236, upper Laguna
       Madre, Texas. Final Report to Texas Railroad Commission, Coastal Zone Consultants. 9 pp.
 36.   Withers, K., D. Rocha, S. Alvarado, and J.W. Tunnell. 1995. Benthic invertebrate abundance and community structure in Gulf
       beach habitats on Padre Island National Seashore, Texas following the M/T Berge Banker oil spill. Report to Beak Consultants and
       Eastham, Watson, Dale, and Foney, L.L.P., Center for Coastal Studies, Texas A&M University-Corpus Christi. 17 pp.
 37.   Tunnell, J.W., Jr., B. Hardegree, K. Withers, and D.W. Hicks. 1995. Environmental impact and recovery of the Exxon Pipeline oil
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 38.   Rocha, D.D. and J.W. Tunnell, Jr. 1995. Composition and distribution of the Gulf beach benthic invertebrate community at Padre
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 39.   Nicolau, B. and J.W. Tunnell, Jr. 1996. Estuarine faunal use in a mitigation project, Nueces River Delta, Texas: sixth year report
       with a review from 1989 through 1995. Center for Coastal Studies Technical Report No. TAMU-CC-9603-CCS. Texas A&M
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 41.   Cox, S.A., E. H. Smith, and J.W. Tunnell, Jr. 1997. Macronektonic and macrobenthic community dynamics in a coastal saltmarsh
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 45.   Adams, J.S., J.S. Fagan, and J.W. Tunnell. 1997. Seagrass/depth/staking survey for plugging of Alpha-Omega Energy, State Holly
       Beach Unit No. 1, Well No. 1-L, lower Laguna Madre, Texas. Final Report to Texas Railroad Commission, Coastal Zone
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 46.   Schleman, T.A. and J.W. Tunnell, Jr. 1997. Seagrass distribution. Pages 74-118 in Brown, C.A. and N.C. Kraus (eds.)
       Environmental monitoring of dredging and processes in lower Laguna Madre, Texas. Final Report, Year 1. Conrad Blucher
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 47.   McGrath, M.E., L. J. Hyde, and J.W. Tunnell. 1998. Occurrence and distribution of the invasive brown mussel, Perna perna
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 48.   Wood, T.M., B.A. Nicolau, and J.W. Tunnell, Jr. 1998. Tropic Isles Homeowner’s Association entrance channel seagrass survey,
       Laguna Madre, Texas. TAMU-CC-9806-CCS. 37 pp.
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       387 Lease, Well No. 1 (103851), Goose Island, North (R-1) Field 35879 500, St. Charles Bay, Aransas County, Texas. Final Report to
       Texas Railroad Commission, Coastal Zone Consultants. 8 pp.
 50.   Hyde, L.J., K. Withers, and J.W. Tunnell, Jr. 1998. Coastal high marsh oil spill clean-up by burning: five-year evaluation. TAMU-
       CC-9811-CCS. 50 pp.
 51.   Nicolau, B.A., T.M. Wood, and J.W. Tunnell, Jr. 1998. Tropic Isles Homeowner's Association water quality survey Laguna Madre,
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 54.   Dokken, Q.R., I.R. McDonald, J.W. Tunnell, Jr., C.R. Beaver, G.S. Boland, and D.K. Hagman. 1999. Long-term monitoring at the
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   87.   Tunnell, J.W., Jr. D.L. Felder, and S.A. Earle. 2011. Foreword: Fifty-Year Update of Bulletin 89. Pp XI-XV in D.L. Felder and D.K.
         Camp (eds). Gulf of Mexico: Origin, Waters and Biota, Volume III Geology. Texas A&M University Press., College Station, Texas.
   88.   Liddell, W.D. and J.W. Tunnell, Jr. 2011. Mexican Coral Reefs. Pp 341-354 in D.L. Felder and D.K. Camp (eds). Gulf of Mexico:
         Origin, Waters and Biota, Volume III Geology. Texas A&M University Press. College Station, Texas.
   89.   Tunnell, J.W., Jr. and G.F. Crozier. 2011 (2010). Foreword – Gulf of Mexico Marine Labs. Gulf of Mexico Science, Special Edition –
         Gulf of Mexico Marine Labs 23 (1&2):1-4.
   90.   Tunnell, J.W., Jr. 2011 (2010). History of the Center for Coastal Studies. Gulf of Mexico Science, Special Edition – Gulf of Mexico
         Marine Labs 23 (1&2):42-55.
   91.   Tunnell, J.W., Jr. 2011 (2010). History of the Harte Research Institute for Gulf of Mexico Studies at Texas A&M University-Corpus
         Christi. Gulf of Mexico Science, Special Edition – Gulf of Mexico Marine Labs 23 (1&2):56-70.
   92.   Tunnell, J.W., Jr. 2011 (2010). “Windows on the Sea” Southern Association of Marine Laboratories: The First 25 Years. Gulf of
         Mexico Science, Special Edition – Gulf of Mexico Marine Labs 23 (1&2):230-235.

   (These last 4 papers were orally presented and written copies were submitted for publication at two separate conferences in México. They
   were never published, but manuscripts are available).

   1.    Tunnell, J.W. and B.R. Chapman. Environmental effects of IXTOC I oil spill on south Texas barrier island beaches. Proceed.
         Congreso sobre Problemas Ambientales de México. (In press, since 1980).
   2.    Tunnell, J.W. Environmental effects of IXTOC I oil impact of southwestern Gulf of México coral reefs. Proceed. Congreso sobre
         Problemas Ambientales de México. (In press, since 1980).
   3.    Tunnell, J.W., B.R. Chapman, M.E. Kindinger, Q.R. Dokken. Environmental impact of IXTOC I oil spill on south Texas sandy
         beaches: infauna and shorebirds. Proceed. Simposio Internacional IXTOC I México. (In press, since 1982).
   4.    Baca, B.J., T.M. Schmidt, and J.W. Tunnell. IXTOC I oil in the seagrass beds surrounding Isla de Media. Proceed. Simposio
         Internacional IXTOC I México. (In press, since 1982).


Published Abstracts:
   1.    Tunnell, J.W. 1973. A Pleurotomariid gastropod from the Northwestern Gulf of México. AMER. ZOOL. 13(4): Abstract 427.
   2.    Tunnell, J.W. 1978. Coral reef molluscs of the Southwestern Gulf of México. ANU ANN. BULL. 43:91.
   3.    Tunnell, J.W. 1980. Submerged banks and coral reef mollusks of the western Gulf of México. Symposium on - Mollusks of the Gulf
         of Mexico. ANU ANN. BULL. 45.71.
   4.    Circé, R.C. and G.N. Wiley, and J.W. Tunnell. 1980. Mollusks of the Punta del Morro - Punta Delgada region, Veracruz, México.
         AMU ANN. BULL. 45.71.
   5.    Woods, J.C. and J.W. Tunnell, Jr.. 1980. Mollusks of shelf-edge submarine banks in the northwestern Gulf of México. AMU ANN
         BULL. 45:71.
   6.    Castiglione, M.C. and J.W. Tunnell. 1983. The distribution and ecology of molluscs of Corpus Christi Bay, Texas. Supplement to
         the 86th Annual Meeting Program, Texas Academy of Sciences. p. 66.

   7.    Allen, R.L. and J.W. Tunnell. 1983. The reptant decapods of Enmedio and Lobos coral reefs, southwestern Gulf of México.
         Supplement to the 86th Annual Meeting Program, Texas Academy of Sciences. p. 66.
   8.    Henkel, D.H. and J.W. Tunnell. 1983. Echinoderms of Enmedio Reef, southwestern Gulf of México. Supplement to the 86th Annual
         Meeting Program, Texas Academy of Sciences. p. 65.
   9.    Tunnell, J.W. 1984. Southwestern Gulf of México coral reefs: Ten years of teaching and research. Program and Abstracts of 87th
         Annual Meeting, Texas Academy of Sciences. p. 49.
   10.   Tunnell, J.W. 1984. A new coastal studies center at Corpus Christi State University. Abstracts for the Fall Meeting, Gulf Estuarine
         Research Society.
   11.   Vega, R. and J.W. Tunnell. 1985. The seasonal abundance and zonation of two species of Donax (Bivalvia: Donacidae) on two south
         Texas sandy beaches. Program and abstracts from the Annual Meeting, Texas Academy of Sciences. p. 40.
   12.   Tunnell, J.W. 1985. Environmental stresses of the Veracruz coral reefs. (Southwestern Gulf of México). Proceed. Fifth Intern.
         Coral Reef Congr., Tahiti, 2:384.
   13.   Michel-Morfin, E., D.W. Hicks, J.W. Tunnell. 2004. Estudio comparativo sobre la dinamica poblacional de los especies do caracoles
         del genero plicopurpura en Mexico. IX Réunion Nacional de Malacologia y Conquiliologiâ Dr. Antonio Garcia-Cubas Gutierrez.
         Merida. 21-24 September, 2004.Yucatan, Mexico. pp.33-34.
   14.   Michel-Morfin, E., D. Hicks, J.W. Tunnell. 2004. Efecto de la extraccion sucesiva del tinte sobre la tasa de repiracion del caracol
         plicopurpura pansa. Eighth International Congress on Medical and Applied Malacology. 10-13 November, 2004. Mexico City. pp.
         52-53.
   15.   Sanchez, J., M. Nipper, I. Michaud, and J.W. Tunnell. 2004. GulfBase: Un instrumento que coadyuva a la creación de redes de
         investigación de Golfo de Mexico. Workshop/Symposium on Coastal Ecosystems of the Gulf of Mexico: Towards the Integration of
         Research Groups. 30 June-2 July, 2004, Boca del Rio, Veracruz Mexico.
   16.   Moretzsohn, F., Tunnell, J. W., Jr., McKinney, L., Brenner, J., Michaud, P., and T. C. Shirley. 2011. Mapping marine biodiversity
         using the Biodiversity of the Gulf of Mexico Database. NGI 2011 Annual Conference, Mobile, AL, May 17-19, 2011.
   17.   Moretzsohn, F., J. Brenner, P. Michaud, J.W. Tunnell, Jr., and T. Shirley. 2011. Gulf of Mexico biodiversity inventory and beyond.
         World Congress on Marine Biodiversity 2011. Aberdeen, Scotland, 26-30 September 2011. 69. International Place-based Protection
         Strategies and Partnership Panel: Cuba; Beyond the Horizon: A Forum to Discuss a Potential Network of Special Ocean Places to




                                                                    20
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 56 of 68



       Strengthen the Ecology, Economy, and Culture of the Gulf of Mexico; Mote Marine Laboratory, 11-13 May 2011.
   18. Impact of Oil Spills on Gulf of Mexico Coral Reefs. Special Symposium on Roadmap to Restoring the Ecological Health of the Gulf
       of Mexico after the BP Oil Spill. SER 2011 World Conference on Ecological Restoration. Merida, Yucatan. 21-25 August 2011.
   19. Gulf of Mexico Oil Spills: A Historical Spatial Perspective. SER-SETAC Symposium: Coastal Oil Spills Before and After the
       Deepwater Horizon: Integrating Impact and Assessment with Restoration. Merida, Yucatan. 24-27 August 2011.
   20. Moretzsohn, F., J.W. Tunnell, Jr., and L. McKinney. 2001. Biodiversity baseline and the Deepwater Horizon Oil Spill. SOST
       Deepwater Horizon Oil Spill Principal Investigator One Year Update Workshop, St. Petersburg, Florida 25-26 October 2011.
   21. Nash, H.L., J.W. Tunnell, Jr., and S. Furiness. 2012 Biological contributions of South Texas Banks to Gulf of Mexico Large Marine
       Ecosystem, Subtropical Biology Conference, Edinburg, Texas, 13 January 2012. [poster]
   22. Wood, J.S., J. Gibeaut, J.W. Tunnell, Jr., and H.J. Cho. 2012. Hyperspectral remote species discrimination in optically shallow
       waters using AISA Eagle imagery, ENVI image processing software and ESRI’s ArcGIS software. Sixth NOAA Education
       Partnership Program Forum, Tallahassee, Florida, 26-28 March 2012.
   23. Tunnell, J.W., Jr., F. Moretzsohn, and L.D. McKinney. 2012. Gulf of Mexico biodiversity and the 2010 oil spill. Sixth NOAA
       Education Partnership Program Forum, Tallahassee, Florida, 26-28 March 2012.


Published Photos:
   •    Two color photos of Merida Yucatan, México; México Magazine Premiere Issues, 1987. p. 19.
   •    Numerous photos in book, J.W. Tunnell and F. Judd (eds.). 2002. The Laguna Madre of Texas and Tamaulipas. Texas A&M
        University Press. College Station. 346 pp.
   •    Numerous photos in book, J.W. Tunnell, Jr., E. A. Chavez, and K. Withers (eds). 2007. Coral Reefs of the Southern Gulf of Mexico.
        Texas A&M University Press, College Station. 256 pp.
   •    Some photos in book, J. W. Tunnell, Jr., J. Andrews, N. Barrera, and F. Moretzsohn. 2010. Encyclopedia of Texas Seashells. Texas
        A&M University Press. College Station. 512 pp.


Professional Involvement (alphabetical order):
   •    American Malacological Union: Field Trip Guide for 1979 Annual Meeting, Corpus Christi; Symposium organism with J. Britton,
        Gulf of México Mollusca, 1994 Annual Meeting, Houston.
   •    Book Review: J. Britton and B. Morton on biota of western Gulf of México, UT Press (1987).
   •    Book Review: R. Darnell on Ecology of the Gulf of Mexico, Texas A&M Press (2009).
   •    Book Review: review of Gulf of Mexico section of National Geographic Kids Almanac (2011).
   •    Coastal Bend Chapter (National Audubon Society): Co. Founder of Chapter (1974), President (1978-1980), President-Elect (1977-
        1978), Treasurer (1980-1981), Program Chairman (1977-1978, 1982-1983).
   •    Deepwater Horizon Oil Spill: became very involved in media interviews and trips to Mexico regarding this oil spill; media included
        New York Times, Washington Post, Associated Press, CNN, MSNBC, ABC Evening News, Fox, Time Magazine, National
        Geographic, and more.
   •    Houston Conchological Society, guest speaker (1983, 1987).
   •    Marine Science Institute, Univ. of Texas, guest speaker, Fish Ecology Workshop for Science Teachers, Nov. 1986, Dec. 1987.
   •    Metropolitan Association for Teachers of Science, guest speaker, Houston (1988).
   •    National Science Foundation: Grant Reviewer (1981-Present).
   •    Padre Island National Seashore: Guest Leader Walk Program (1978-1981); Biologist Selection Committee (1981); Annual
        Christmas Bird Counts (1975-82).
   •    Peer Review Panels on Deepwater Horizon Oil Spill Gulf Research Initiative funding to Dauphin Island Sea Lab and Northern Gulf
        Institute (2010 and 2011).
   •    Sea Grant, Texas: Grant Reviewer (1979-1980; 1986-Present).
   •    Science, Univ. Tex., Marine Science Institute, (Feb. 1990).
   •    Southern Methodist University, College of Continuing Education: Field Trip Guide (1981), Guest Speaker (1982).
   •    Southern Association of Marine Laboratories: Steering Committee and panelist for NSF Workshop on minorities in Marine
   •    Summer Science Institute, Corpus Christi State University, Marine Science for Secondary Teachers (1988).
   •    Symposium on South Texas Fauna in Honor of Dr. Allan H. Chaney: Co-organizer and co-editor of symposium/proceedings (1977).
   •    Tamaulipan Biotic Province Symposium: Steering Committee (1978-1982).
   •    TAMU-CC National Spill Control School: Lecturer - Oil Spills (1978 - 1997), Hazardous Material (1980-83).
   •    Texas Academy of Sciences: Host of 1980 Annual Meeting; Board of Development (1981-82); Coral Reef Symposium Organizer
        for 1977 Annual Meeting; Conservation Committee (1985).
   •    Universidad Autonoma de Tamaulipas and The University System of South Texas. Participated in two meetings of discussion and
        interaction on academics and research between these two organizations, May 1984 in Kingsville, Tx. and Nov. 1984 in Ciudad
        Victoria, Tamaulipas, México.
   •    Welder Wildlife Foundation: Conservation Ecology Workshop Lecturer and Field Trip Leader (1978-84).
   •    Invited seminar presentations: Univ. Texas, Marine Science Inst., Mar. 1980, Apr. 1985; Univ. Texas at San Antonio, Oct. 1984;
        Centro de Investigación y de Estudios Avanzados del IPN -Unidad Merida, Aug. 1985; Instituto Technologico de Chetumal, Oct.
        1985; Texas A&M Univ., Dept. Biol. Oceanography, Oct. 1986; Texas A&M Univ., Galveston, Dept. Mar. Biol., Apr. 1988;
        Texas Christian Univ., Dept. Biol., Feb. 1989; Texas A&M Univ., Wildlife and Fisheries Science Department, Jan. 1995; The
        University of Texas at Arlington, Nov. 1996.




                                                                  21
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 57 of 68




Program Reviews:
   •   Texas A&M University – Galveston, Marine Science and Oceanography Programs funded by State of Texas Special Item Funding.
       26 March 1998
   •   University of Alaska – Juneau, Environmental and Marine Science Program and Facilities Planning, with Saratoga Associates and
       Cunningham group. June - July 2001.
   •   East Carolina University, Proposal for Center for Integrative Coastal Studies. January 2004.
   •   Vester Marine and Environmental Sciences Research Field Station, Florida Gulf Coast University. August 2010.


Professional Boards, Panels, Committees (alphabetical order):
   •   Beyond the Horizon Steering Committee (for Gulf of Mexico MPA plan), 2010.
   •   Caribbean MPA Management Network and Forum, Leadership and Resources Tam, 2008 – Present.
   •   Census of Marine Life, U.S. National Committee Member, 2005-2010; Vice-Chair, 2007-2010.
   •   Corpus Christi Bay National Estuary Program, Task Force Team Leader for Living Resources and Habitats, Comprehensive
       Conservation and Management Plan development, 1995-1999.
   •   Corpus Christi Bay National Estuary Program, Scientific/Technical Advisory Committee, Vice Chair, 1993 - 1998; Chair, 1999-
       2001.
   •   Environmental Science Institute, Florida A&M University, Advisory Council, 2007 – Present.
   •   Google Ocean Advisory Council, 2007 – 2009.
   •   Gulf of México Fishery Management Council, Ad Hoc Marine Reserves Committee, 1998 - 2009.
   •   Gulf of Mexico Large Marine Ecosystem Steering Committee, 2009-2013.
   •   Harte Research Institute for Gulf of Mexico Studies, Harte Advisory Council Board (ex-officio), 2001 – Present.
   •   Koch Industries, Inc., Koch Coastal Bend Community Advisory Council, 1998-2002.
   •   Malacology Data Net (Ecosearch Series), Editorial Advisory Board, 1987 - 1993.
   •   National Association of Marine Laboratories, Board of Directors, 1996-Present.
   •   National Council for Science and the Environment, Advisory Committee for the “Oil and Oceans Symposium” in Washington, DC,
       2011.
   •   National Undersea Research Center, Peer Review Panelist, 1994.
   •   Nueces and Corpus Christi: Bay and Basin Stakeholder Committee, 2009-Present.
   •   Nueces Estuarine Advisory Council, 1992 - Present.
   •   Nueces River Authority, Steering Committee, Clean Rivers Program, 1993- Present.
   •   Sian Ka'an Conservation Foundation, Board of Directors, 1992-2010.
   •   Southern Association of Marine Laboratories, Board of Directors, 1996 - 99, President-Elect, 1999, President, 2000-2001, Past
       President, 2002-2003, President-Elect 2006-2007, President 2008-2009, Past-President 2010-2011.
   •   State of the Gulf of Mexico Steering Committee for 2006 Summit, 2004-2006.
   •   State of the Gulf of Mexico Steering Committee for Summit 2011, 2011.
   •   Technical Advisory Committee to Texas Water Commission on freshwater inflows into Nueces/Corpus Christi Bay system from
       Lake Corpus Christi/Choke Canyon Reservoir. Appointed June 1990 -1992.
   •   Texas A&M University at Galveston, Program of Requirements for new Marine Science Research Building, 2006-2008.
   •   Texas A&M University Press, General Editor, Gulf Coast Studies Series, 2001-Present.
   •   Texas A&M University Press, General Editor, Harte Research Institute for Gulf of Mexico Studies Series, 2007 – Present.
   •   Texas Academy of Sciences, Board of Directors, 1989-1991.
   •   Texas Parks and Wildlife Department, Texas Harmful Algal Bloom Strategy Coordinating Committee, 1998-2002.
   •   Texas Parks and Wildlife, Coastal Resources Advisory Council, 2005-2008.
   •   Texas Sea Grant College Program, Academic Advisory Committee, 1994- Present.
   •   U.S. Coast Guard Oil Spill Team, South Texas Coastal Zone Area Committee, 1994-98.
   •   Waitt Institute for Discovery, Scientific Advisory Committee, 2006-2010.




University and College Involvement (alphabetical order):
   •   Biology Department: Coordinator (1989-1990); Chair Search Committee (1990; 1994).
   •   Biology Field Trip/Vehicle Coordinator (1974- 1992).
   •   Biology Graduate Selection: Member (1975-Present).
   •   Science Division: Committee for Environmental Action on Campus, Sponsor (1990).
   •   College (Science & Technology), Dean Selection Committee, Member (1979-1980).
   •   College (Science & Technology), Dean Selection Committee, Member (1981-1983).
   •   College (Science & Technology), Dean Selection Committee, Member (1994).
   •   College (Science & Technology), Director, Blucher Institute, Selection Committee Member (1988).
   •   College (Science & Technology), Director, Blucher Institute, Selection Committee, Chair, (1997).
   •   College (Science & Technology), Instructional Development Committee, Member (1978-1981).
   •   College (Science & Technology), Promotion and Tenure Committee, Member (1983-1984; 1993-1995) Chairperson (1986-1988).




                                                               22
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 58 of 68



   •   College (Science & Technology), Promotion and Tenure Review Committee, Member (1988-1989; 1990-1991).
   •   College (Science & Technology), Science Chairperson Selection Committee, Member (1977).
   •   College (Science & Technology), Purpose Statement Committee, Member (1988).
   •   College of Science and Technology, Center for Coastal Studies - Director (1984-2009).
   •   Environmental Science Program Development Committee, Member (1990-1992).
   •   Geology Program Development Committee, Member (1979-1981).
   •   Geology Program Faculty Selection Committee, Member (1979-1981).
   •   Mariculture Grant Coordinator (1989-1990, 1990-1991).
   •   Physical and Life Science Department: Chair, Ph.D. CMSS Program Development Committee (2001-2005).
   •   Life Science Department: Member, Ph.D. Marine Biology Development Committee (2007-2008).
   •   Life Science Department: Chair of Search Committee for LSCI Chair of Department position (2011).
   •   Life Science Department: Member, Search Committee for Coral Reef Ecologist position (2011-12).
   •   Science Association: Faculty Sponsor (1974-1975).
   •   TACT Nominating and Election Committee: Science & Technology Rep. (1981).
   •   University Budget and Strategic Planning Council: Member (1999-2005 ).
   •   University Committee on Administration of Organized Research Funds: Science & Technology Rep. (1979-1980).
   •   University Committee on Evaluation of Grants and Contracts (1995-1998).
   •   University Council on Teacher Education: Science & Technology Rep. (1983-1984).
   •   University Graduate Affairs Committee of Academic Council: Science & Technology Rep. (1981-1982).
   •   University: Harte Research Institute Management Team (2001-2008).
   •   University: Harte Research Institute Academic Council (2004-Present).
   •   University Promotion and Tenure Committee: Science & Technology Rep. (1980-1981).
   •   University Research Committee: Science & Technology Rep. (1981-1982).
   •   University Research and Scholarly Activities Council (Formerly University Research Council) (1999-2010).
   •   University Self-Study, Standards Committee for Graduate Programs: Science and Technology Rep. (1978-1979).
   •   University Sponsored Programs Review Committee, Member (1995).
   •   University: Building Coordinator of Center for Environmental Studies and Services (1990-1996) and Natural Resource Center
       (1996-2009)
   •   University: Provost’s Council (2001-2008).
   •   University: Selection Committee Chair; Sponsored Programs Coordinator (1996 and 1997).
   •   University: Selection Committee Member, Assist. Director, Physical Plant (1997).
   •   University: Selection Committee Member, Director of Research (2010-11).
   •   University: CCSU/4U Assistance Group, Member (1988).
   •   University: Building Coordinator for the Harte Research Institute for Gulf of Mexico Studies building (2002-2008).


Community Involvement (alphabetical order):
   •   Bold Future of the Coastal Bend, Sustainable Environment Committee: (2009-2011).
   •   Calallen Middle School Science Fair: Judge (1988).
   •   Christian Businessmen's Committee: Supporter/Member (1981-1984).
   •   Comfort and Encouragement Ministries: Board of Directors (2000-Present)
   •   Corpus Christi House of Prayer: Counselor (1976-1981).
   •   Corpus Christi Independent School District: Career Development Program (1977, 1981); Mystery Guest Program (1976, 1981);
   •   Corpus Christi Independent School District (CCISD) Texas Science, Technology, Engineering, and Math (T-STEM) Innovation
       Academy Design Team Member (Sept. 2006 – Present).
   •   Corpus Christi Museum: Reviewer of exhibit plans/expansions (1987).
   •   Corpus Christi Tunnel Aquarium Committee: Member (1977-1978).
   •   Deepwater Horizon Oil Spill: served as media advisor to numerous media outlets regarding the historical perspective from the Ixtoc
       I oil spill (National Geographic, Time magazine, Nature magazine/journal, New York Times, Washington Post, ABC World News,
       CNN International, and many more).
   •   Faith Christian School: School Board Chairman (1976-84), School Council Member (1986-1989).
   •   Faith Temple: Elder (1975-1991).
   •   Fantastic Friday Series, Windsor Park Elem., Athena Program, (1986, 1987); Guest speaker, Calallen Jr. High (1987); Innovation
       Academy with T-STEM at Cullen Middle School and Moody High School and HRI 2007, 2008).
   •   Fellowship of Christian Athletes: Supporter/Member (1976-1981).
   •   Harvey Weil Conservationist-Sportsmanship Grant Selection Committee (2000-present).
   •   Harvey Weil Conservationist-Sportsmanship Steering Committee (2006-present).
   •   Here's Life Corpus Christi: Supporter/Member (1976-1981).
   •   National Ocean Science Bowl - Center for Coastal Studies Sponsor (1999-2008); Science Judge (1999-present).
   •   National Science and Technology Week: public lecture on "Views from Downunder: Australia's Great Barrier Reef and Outback”
       (1988).
   •   Program organizer and speaker: "Our Environment: A look at South Texas” seminar - “Texas Coastal Ecology: Its Uniqueness
       and Problems" (by J.W.T.) Co-sponsored by four civic groups.
   •   Rotary Club of Corpus Christi (2000-2008).
   •   Sea Grant Marine Education Symposium, Palacios, Texas, 1992.
   •   Speaker to the following groups: Coastal Bend Audubon Society; Corpus Christi Garden Club; Coastal Bend Shell Club; Ingleside



                                                                 23
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 59 of 68



            Rotary Club; Southside Rotary Club; Westside Rotary Club; Taft Rotary Club; Portland Rotary Club; Aransas Pass Rotary Club;
            Ingleside Rotary Club; Midtown Kiwanis Club; Taft Kiwanis Club; Uptown Kiwanis Club; Downtown Kiwanis Club; Texas A&I
            Biology Club; Texas A&I Conservation Class; CCSU Faculty Wives Club; Texas Shorthand Reporters Association; Various Local
            Schools; Society of Independent Petroleum and Earth Scientists; Junior League of Corpus Christi; Corpus Christi Museum; Third
            Coast Dive Club; Texas Lyceum; Texas Associated Press Managing Editors; SW Bell Pioneers; Elderhostel; Leadership Texas;
            Corpus Christi Downtown Rotary Club; Corpus Christi Morning Group; Corpus Christi Kiwanis Club; Padre Island Kiwanis Club;
            Padre Island Enhancement Association; Pan American Round Table; Corpus Christi Chapter of Texas Society of Certified Public
            Accountants; Houston Museum of Natural Science.
     •      Tex-PREP College Program: Speaker, Del Mar College, (1987, 1988, 1989, 1990, 1991, 1992).
     •      Texas State Aquarium Association: Technical Advisor (1978-1990); Biological Committee (1986-1990). Instructor/Lecturer in
            Guide Classes (1990, 1991, 1992).


Graduate Advisor or Co-Advisor for:
MS Students:
1. Christi Adams, '94                  15. Nicole Davis ‘11                         29. Kay Jenkins, '00                             43. Barbara Ruth, '90
2. John S. Adams, '93                  16. Dolly Dobson, '03                        30. Mary Kindinger, '81                          44. Ronald R. Smith '96
3. Sandra Alvarado, '96                17. Albert Drumwright, '89                   31. Amy Koltermann, '00                          45. Lucinda N. Sohn, '99
4. Noe Barrera, '01                    18. Tannika Engelhard, '98                   32. Christopher Ledford, '03                     46. Jackie Staggs, ‘08
5. Thomas Bates, '03                   19. Shannon Garvon '04                       33. Clare M. Lee, '95                            47. Jennifer Stephens ‘10
6. Maria Brayfield ’04                 20. Richard Gibbons '04                      34. Scott P. Milroy, '99                         48. Terrance Todd, '03
7. Heather Butler, 08                  21. John E. Gourley, '89                     35. Christine Mitchell, '85                      49. Troy Todd, '96
8. Matt Campbell, '01                  22. Kathryn Harvey, '01                      36. Teri J. Nelson, '91                          50. Scott Van Sant, '03
9. Teresa B. Carrillo, '00             23. Kimberly Halbrook '03                    37. Alex Nuñez, '04                              51. Amy Thurlkill '04
10. Marie Castiglione, '83             24. David W. Hicks, '93                      38. Michael Ordner, '87                          52. Mary E. Vega, '88
11. Alejandra Chavez ’09               25. Nancy L. Hilbun, '00                     39. Jennifer Pearce '04                          53. Robert Vega, '85
12. Catherine Childs, '02              26. Gary Hill, '75                           40. Addie Reed '04                               54. Catherine Williamson, '80
13. Susan Childs, '97                  27. Matt Hubner, '07                         41. Nicolás Ricono, '98                          55. Barbara Ruth, '90
14. Paul C. Choucair, '92              28. Larry Hyde, '00                          42. Dennis D. Rocha, '95



Ph.D. Students:                        1. Dr. Roy Lehman, '93                         2. Dr. Kim Withers, '94                        3. Dr. Carl Beaver, '02
                                       4. Dr. Sandra Arismendez ‘10

 Post Doctoral Associates:             1. Dr. Carl Beaver 2001-2002                   2. Dr. Emilio Morfin 2003-2004                 3. Dr. Fabio Moretzsohn 2004-2007
                                       4. Dr. Jorge Brenner 2007-2010




Gulf Coast Books (book series), Sponsored by Texas A&M University-Corpus Christi, John W.
Tunnell, Jr., General Editor, published by Texas A&M University Press
                                                                               Titles in the Series

 1. Lighthouses of Texas (2001) .............................................................................................................. by T. Lindsay Baker
 2. The Laguna Madre of Texas and Tamaulipas (2002) ......................................................................... by John W. Tunnell, Jr.
     and Frank J. Judd (eds.)
 3. Fishing Yesterday’s Gulf Coast (2002) ............................................................................................. by Barney Farley
 4. Designing the Bayous (2004) ............................................................................................................ by Martin Reuss
 5. Life on Matagorda Island (2004) ...................................................................................................... by Wayne H. McAlister
 6. The Book of Texas Bays (2004) by Jim Blackburn
 7. Plants of the Texas Coastal Bend (2005) ........................................................................................... by Roy L. Lehman et al.
 8. Galveston Bay (2005) ........................................................................................................................ by Sally E. Antrobus
 9. Crossing the Rio Grande (2006) ....................................................................................................... by Luis G. Gómez
10. Birdlife of Houston, Galveston, and the Upper Texas Coast (2006) .................................................... by Ted L. Eubanks et al.
11. The Formation and Future of the Upper Texas Coast (2007) ............................................................... by John B. Anderson



                                                                                             24
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 60 of 68



12. Finding Birds on the Great Texas Coastal Birding Trail (2007) ......................................................... by Ted Eubanks et al.
13. Texas Coral Reefs (2008) .................................................................................................................... by Jesse Canselmo
14. The Laguna Madre and Its Fishes (2008) ............................................................................................ by David A. McKee
15. The Louisiana Coast, Guide to an American Wetland (2008)............................................................... by Gay M. Gomez
16. Storm over the Bay (2009) .................................................................................................................... by Mary J. O’Rear
17. After Ike (2009) .................................................................................................................................... by Bryan Carlile
18. Glory of the Silver King (2011)………………………………………………………………………by Hart Stilwell
19. Kayaking the Texas Coast (2011)…………………………………………………………………….by John Whorff
20. River Music (2011……………………………………………………………………………………………..by Ann McCutchan


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Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 61 of 68




                Tunnell Declaration
                    Exhibit B
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 62 of 68




                                      Exhibit B

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                                           3
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 65 of 68




                Tunnell Declaration
                    Exhibit C
Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 66 of 68




                              Exhibit C

                        Additional Figures
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 67 of 68




                 Federal Waters Closed as of 2 June 2010




    Source: Environmental Response Management Application (ERMA) website




Figure C-1 - Maximum daily extent of federal waters closed (2 June 2010; from the
ERMA Gulf Response website).
 Case 2:10-md-02179-CJB-DPC Document 7114-22 Filed 08/13/12 Page 68 of 68




         Federal Waters Closed as of 24 November 2010




      LEGEND
            Closed to all fishing


            Closed to royal red shrimping




     Source: Environmental Response Management Application (ERMA) website




Figure C-2 - Deepwater Horizon-related closures in federal waters as of 24 November
2010 (from ERMA Gulf Response website).
